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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

 

FEDERAL LAWSUIT
OF DISCRIMINATION,
RETALIATION, TEXAS
TORT PERSONAL INJURY,
GROSS NEGLIGENCE &
INTENTIONAL INFLICTION
OF EMOTIONAL DISTRESS

 

 

JANE DOE

Texas Southern University
Student |Plaintiff | Complainant | Pro Se Litigant
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

 

JANE DOE
, DOCKET NO.:
Plaintiff, °

v. CIVIL ACTION NO.:
TEXAS SOUTHERN UNIVERSITY,
TEXAS SOUTHERN UNIVERSITY’S
BOARD OF REGENTS, DEPARTMENT
OF PUBLIC SAFETY, THURGOOD
MARSHALL SCHOOL OF LAW &
HOUSTON’S LOUIS STOKES
ALLIANCE FOR MINORITY
PARTICIPATION

Defendants.

[JURY TRIAL DEMANDED]

 

 

 

PLAINTIFF’S ORIGINAL COMPLAINT

 

TO THE HONORABLE JUDGE OF SAID COURT.

COMES NOW, Plaintiff Jane Doe,' through Pro Se Litigant filing her Original
Complaint against Texas Southern University (hereinafter “Texas Southern”, “TSU” or “the
University”), Texas Southern University’s Board of Regents (hereinafter “the Board”),

Department of Public Safety (hereinafter “TSU-PD” or “TSU Police Department’),

 

' “Jane Doe” has been substituted for the Plaintiff's name for all causes of action brought through this Complaint which
would otherwise publish important privacy interests of all parties. Plaintiff fears for her life, emotional, mental and physical
well-being personal safety as well as that of her family as a result of this Complaint. Since complaining to the University
of claims set forth in this Complaint, Plaintiff has received vile threats and has been harassed. In this, Plaintiff will file a
Motion to Proceed with Fictitious Names or Pseudonymously.

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Thurgood Marshall School of Law (hereinafter “Thurgood Marshall” or “the Law School”)
and Houston’s Louis Stokes Alliance for Minority Participation (hereinafter “H-LSAMP”)

in support thereof would show as follows:

 

I. PRELIMINARY STATEMENT

 

Plaintiff Jane Doe, a now former student of Texas Southern University petitions this
Federal lawsuit charging Defendants Texas Southern University, Texas Southern’s Board
of Regents, Texas Southern’s Department of Public Safety, Texas Southern’s Law School,
Thurgood Marshall School of Law and Houston’s Louis Stokes Alliance for Minority
Participation with perpetuating and subjecting Plaintiff to a discriminatory, retaliatory,
hostile educational atmosphere wherein Plaintiff faced sexual harassment, sex-based
discrimination, sexual assault, race, color and national origin-based discrimination,
disability-based discrimination, exclusion in Federally funded educational programs on the
basis of protected classes, protected activity and protected speech, the denial of institutional
educational rights, retaliation for attempting to resist same and retaliatory harassment for
Plaintiff, Jane Doe’s subsequent participation and sensitive claims petitioned in Federal
lawsuit Doe v. Prairie View A&M Univ., CIVIL ACTION NO. 4:17-CV-1957 (S.D. Tex. Apr.
25, 2018). Furthermore, this Federal lawsuit speaks to the Defendant’s deliberate
indifference and retaliation in response to Plaintiff's official complaints of claims of
unlawful embezzlement and misallocation of Federal funds dispersed to H-LSAMP by the
National Science Foundation and Title IV Federal funding of the Higher Education Act of
1965.

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Plaintiff's Federal lawsuit too discloses the Defendant’s gross negligence in adhering
to nefarious local, State, Federal and constitutional laws promulgated thereunder by the
Defendant’s State and Federal funders with authoritative and jurisdictional authority over
the Defendant’s operations including but not limited to the City of Houston, the State of
Texas, the Equal Employment Opportunity Commission (hereinafter “the EEOC), the Texas
Workforce Commission, the U.S. Department of Education (hereinafter “the USDE” or
“USDE”), the U.S. Department of Justice (hereinafter “the DOJ” or “DOJ”), the US.
Department of Labor (hereinafter “DOL”), the National Science Foundation (hereinafter
“NSF”) and the National Aeronautics and Space Administration (hereinafter “NASA”).

Plaintiff's Federal lawsuit further discloses Defendant’s gross negligence including
the misappropriation, misallocation and abuse of Federal funding dispersed under
multifarious Federal agencies including Title IV of the Higher Education Act of 1965,
Federal Grants #’s: 1911310 & 1407736 funded by the National Science Foundation and
Federal Grants #’s: 80NSSC17K0405-P00001 & 80NSSC17K0405 funded by the National
Aeronautics and Space Administration in which the Plaintiff was a recipient of a scholastic
scholarship administered by these Federal grant alliances.

Plaintiffs disclosure of Defendant’s gross negligence further includes illicit activities,
criminality, malfeasance, embezzlement, and Federal fraud as set forth by 18 U.S.C §§ 1001
by virtue of Defendant’s Principal Investigator and Director of Houston’s Louis Stokes
Alliance for Minority Participation, Dr. Bobby Wilson facilitation in the falsification of the
Defendant’s Certificates of Compliance with governmental agencies to receive Federal

funding despite the Defendant’s negligent incompliance with Federal regulatory mandates.

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Plaintiff's Federal lawsuit too discloses Defendants indifferent, impermissible
responses to Plaintiff's complaints which includes severely offensive, unlawful and
retaliatory harassment perpetuated by Defendants Federally funded program by the National
Science Foundation, Houston’s Louis Stokes Alliance for Minority Participation, the
Defendant’s Law School, Thurgood Marshall School of Law and Department of Public
Safety while acting under the color of Federal law and utilizing State and Federal resources
to intimidate, exclude and dissuade Plaintiff from further participating in the formal
complaint process and exposing the malpractice occurring with the operations of the
Defendants Federally funded educational programs.

Defendant’s sanctions, mindset, failures and negligence set forth by its administration
promotes a hostile environment that limits educational, intellectual and scholastic
advancement, is a disgrace to the U.S. educational system, a danger to the general public, a
threat and liability to the State of Texas and Federal government and is a mockery of Federal
and constitutional promulgations.

The Defendant has a longstanding history of violating Federal law, the rights and
privileges of participants of their educational programs, neglecting academic programs and
misallocating and embezzling Federal funds. The Defendant has made a deliberate statement
that they are an entity that discriminates and will utilize any and all State and Federal
resources to harass and dissuade victims from exposing the culture of Historically Black
Colleges and Universities that serve as a safe haven for predators and unconstitutional

doctrine.

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Il. JURISDICTION AND VENUE

1. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

 

§ 1331.

2. Plaintiff Jane Doe appears through Pro Se or Pro Se Litigant representation
pursuant to 28 U.S.C. § 1654.

3. Plaintiff sets forth claims to redress a hostile educational environment pursuant
to Title IX of the Education Amendments of 1972 (“Title IX”), 20 U.S.C. §1681 ef seq.,
Title II of the Americans with Disabilities Act, as amended (““ADA”, “Title II” or
“ADAAA”), 42 U.S.C. §12101 et seg., Section 504 of the Rehabilitation Act of 1973, as
amended (“the Rehabilitation Act”), 29 U.S.C. §794 and Title VI of the Civil Rights Act
1964 (“Title VI’), 42 U.S.C. 2000d et seq. Plaintiff too sets forth claims pursuant to the
First amendment, Fourth amendment and Fourteenth amendment of the U.S. Constitution.

4, Plaintiff further invokes the supplemental jurisdiction of the U.S. District Court
for the Southern District of Texas, pursuant to 28 U.S.C. 1367(a) to hear and decide claims
arising under Texas State law as set forth in Plaintiffs Complaint against Defendants for
Prima Facie Tort Case of Personal Injury, Intentional Infliction of Emotional Distress and
Negligence.

5. Venue is proper in the U.S. District Court for the Southern District of Texas
pursuant to 28 U.S.C. §1391(b), as all Parties reside in this district and the events giving rise
to Plaintiff’s claims of unlawful discrimination, retaliation and personal injury herein were

committed within the Southern District of Texas, Houston Division.

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il. PARTIES

6. Plaintiff Jane Doe is a natural born citizen of the United States of America and

 

at all material times resided in Harris County, Texas.

7. Defendant Texas Southern University is a public postsecondary educational
instrumentality of the State of Texas and general academic teaching institution pursuant to
§ 61.003 of the Texas Education Code and is located in Harris County, Texas.

8. Defendant Texas Southern University’s Board of Regents is the official
governing body of Texas Southern, is composed of nine members who are appointed by the
Governor and confirmed by the Senate and is charged with operating and governing the
University in accordance with local, State Federal and constitutional promulgations.

9, Defendant Thurgood Marshall School of Law is an American Bar Association
accredited program and is under the jurisdiction of Texas Southern.

10. Defendant Houston’s Louis Stokes Alliance for Minority Participation is a
governmental Federally funded scholastic alliance by the National Science Foundation.

11. Texas Southern University received Federal funding for its academic programs
and activities as contemplated by Title IX, 20 U.S.C. 1681, et seq., the Clery Act, 20 U.S.C.
§ 1092 (a)(1)(P), Section 504, 29 U.S.C. §794 et seq. and Title VI, 42 U.S.C. § 2000d et
seq., for its activities and educational programs including Title 1V Federal funding of the
Higher Education Act of 1965 administered by the U.S. Department of Education and
Federal grants from the National Science Foundation and the National Aeronautics and

Space Administration and the U.S. Department of Justice.

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IV. SERVICE

12. Defendant Texas Southern University may be served by service upon the

 

Interim President of the University, Mr. Kenneth Huewitt, at the address of 3100 Cleburne
Street, Office of the President, Hannah Hall, Suite 220, Houston, Texas, 77004 or wherever
such person may be found.

13. Defendant Texas Southern’s Board of Regents may be served with process at
3100 Cleburne Street, Hannah Hall, Suite 115, Houston, Texas, 77004 or wherever such
persons may be found.

14. Defendant Texas Southern’s Department of Public Safety may be served with
process at 3443 Blodgett Avenue, General Service Building, Houston, Texas 77004 or
wherever such persons may be found.

15. Defendant Texas Southern’s Thurgood Marshall School of Law may be served
by service upon the Dean of the Law School, Dean Joan R.M. Bullock with process at 3100
Cleburne Street, Thurgood Marshall School of Law, Houston, Texas, 77004 or wherever
such persons may be found.

16. Defendant Houston’s Louis Stokes Alliance for Minority Participation may be
served by service upon H-LSAMP’s Principal Investigator and Director, Dr. Bobby L.
Wilson with process at 3100 Cleburne Street, Science Building, Suite 403L, Houston, Texas,
77004 and Co-Principal Investigator Donna L. Pattison with process at University of
Houston, 4800 Calhoun Rd, Science Teaching Laboratory Building, Suite 108C, Houston,

TX 77004 or wherever such persons may be found.

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V. FACTS

 

17. At the time of events complained of herein, Jane Doe was a full-time transfer
student attending Texas Southern University.

18. Plaintiff Jane Doe petitioned in this complaint is of the same person petitioned
in Federal lawsuit Doe v. Prairie View A&M Univ., CIVIL ACTION NO. 4:17-CV-1957
(S.D. Tex. Apr. 25, 2018) filed on Monday, June 26, 2017.

19. At the time of Jane’s transfer to Texas Southern in January of 2018 her
subsequent Federal lawsuit Doe v. Prairie View A&M Univ., CIVIL ACTION NO. 4:17-CV-
1957 (S.D. Tex. Apr. 25, 2018) had not been litigated nor settled.

20. Jane’s subsequent Federal lawsuit Doe v. Prairie View A&M Univ., CIVIL
ACTION NO. 4:17-CV-1957 (S.D. Tex. Apr. 25, 2018) was settled for $100,000 prior to
litigation by virtue of mediation on Tuesday August 7, 2018 therefore dismissing the charges
against Defendant, Prairie View with prejudice on Wednesday, August 29, 2018.

21. Plaintiff Jane Doe’s Federal lawsuit charging Prairie View A&M University
(hereinafter “Prairie View” or “PVAMU”) entailed claims against Dr. Kendall T. Harris,
PVAMU’s former Dean of Roy G. Perry’s College of Engineering, whom now serves as the
Provost for Texas Southern for subjecting Jane to retaliatory acts subsequent her notifying
him of her participation in her subsequent EEOC charge and Federal lawsuit.

22. Simultaneous with Jane’s departure from Prairie View and enrollment at Texas
Southern, Dr. Kendall T. Harris, too departed from Prairie View where Plaintiff Jane Doe

was a student in the Department of Computer Science for 3 years.

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A. SPRING 2018

23. Jane transferred to Texas Southern University and registered for 15 credit hours

 

in the University’s College of Science, Engineering and Technology’s (hereinafter
“COSET”) Department of Computer Science to continue pursuing her matriculation in
Computer Science.

24. This term Jane paid for tuition by virtue of Federal Pell Grants, and Subsidized
and Unsubsidized loans dispersed from Federal funding of Title IV of the Higher Education
Act of 1965 (Public Law 89-329) administered by the U.S. Department of Education.

25. A few weeks into the semester, an international graduate student in the
Department of Computer Science and COSET employee, Nurudeen Elegbede pursued Jane
romantically.

26. Jane declined Nurudeen’s request, informed him she was in a relationship and
that instead they could be friends. Nurudeen reluctantly agreed, however would still tell Jane
that one day he’d get her because he’s a man who gets what he wants.

27. During the semester, Jane and Nurudeen would sometimes study together,
exchange educational expertise, have lunch and friendly conversations. On three occasions
these visits were at Nurudeen’s residence per his invitational request.

28. In these interactions, Nurudeen was respectful and poised yet subtly persistent
and eloquent about pursuing Jane intimately. Again, Jane denied Nurudeen’s request and
advances and reiterated that she was in a relationship and was not willing or wanting to

engage with him in such a way, except for a platonic friendship.

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29. During Spring Break, on Monday, March 12, 2018 Jane and a friend, whom
too is a student in COSET decided to go out and celebrate with margaritas at Chachos
Mexican Restaurant (hereinafter “the Restaurant”) located at 2700 S. Loop West, Houston,
TX 77054 as they had just completed rigorous midterm examinations. Throughout the day,
this day, Jane and Nurudeen had been conversing via text.

30. Before Jane’s arrival to the Restaurant she had previously consumed
approximately 3 Hennessey Hpnotiq mixed-drinks.

31. At the Restaurant Jane and her friend both ordered small Caesar salads and 3
margaritas a piece, 2 large and one small. Jane was unable to finish her last margarita, the
small, as she had reached her plateau, so her friend finished the margarita.

32. When it was time for Jane and her friend to leave the Restaurant, Jane texted
Nurdeen and inquired if she could stay at his house until she sobered up, which was located
5 miles from the Restaurant because she didn’t believe she was able to safely operate her
vehicle and drive herself home which was located 27 miles, or 30 minutes away from the
Restaurant. Nurudeen agree. Jane initially wanted to spend the night at her friend’s house
however her friend was residing with her father whom had strict rules regarding overnight
company.

33. When Jane arrived to Nurudeen’s residence, she parked her vehicle, stumbled
up the stairs stumping her toe and knocked on the door. Nurdeen opened the door. And
welcomed Jane in.

34. That night while Jane was intoxicated Nurudeen raped Jane, twice.

35. On Thursday, March 15, 2018 Jane visited TSU-PD and spoke with an officer

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to file an official police report regarding Nurudeen subjecting her to sexual violence. When
the officer began questioning Jane, she began crying hysterically due to humiliation and fear
and informed the investigating Officer that she wanted to go home. Thereafter, Jane left the
police station in tears.

36. The following day, Friday, March 16, 2018 Jane returned to TSU-PD and made
an official report of the rape and sexual violence Nurudeen subjected Jane to.

37. On Tuesday, March 20, 2018 TSU-PD forwarded Jane’s complaint to TSU’s
now former, Office of Human Resources Associate Vice President/CHRO and Title IX
Coordinator, Ms. Keisha David.

38. Jane too reported the rape and sexual violence to Houston’s Police Department
who presented the charges to the Harris County District Attorney’s Office (“hereinafter
DAO”) however the DOA denied the charges against Nurudeen.

39. On Wednesday, March 28, 2018 Jane had her first interview regarding her Title
IX complaint with Texas Southern’s now former Deputy Title LX Coordinator, Ms. Ja’ Wana
Green.

40. Ms. Green’s demeanor and investigatory practices were hostile, indifferent and
biased toward the accused, Nurudeen.

41. On Thursday, April 5, 2018 while Jane was on her way to class, she saw
Nurudeen in the Technology Building.

42. As aforementioned, Jane and Nurudeen were both students in COSET and
therefore attended classes in the same building, on the same floor and at the same time.

43. Jane was scared, hyperventilating and anxious at the sighting of Nurudeen and

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at the advisement of TSU-PD during the filing of her initial report, contacted TSU-PD and
requested an officer to the scene.

44. An hour later TSU-PD Officer, Stacey St. Romain arrived at the Technology
Building bothered, annoyed and unconcerned regarding Janes concerns of her personal
safety and being within close proximity to her assaulter.

45. Jane informed Officer St. Romain that she saw the Respondent Nurudeen, was
scared and felt unsafe. He responded and said, “Well, what do you want me to do about it?”
while shrugging his shoulders with a look of disinterest.

46. For the remainder of the semester Jane had to attend classes just steps away
from her assaulter.

47. Jane contemplated withdrawing from school however due to her already
prolonged postsecondary education journey in dealing the financial and emotional effects of
her subsequent civil action she persevered and finished the semester.

48. As aforementioned, at this time Janes subsequent Federal lawsuit had not been
litigated or mediated.

49. When the Spring 2018 semester term concluded Jane achieved a 3.5 GPA,
earning all A’s with the exception of one course that she was issued an “I” or “Incomplete”
in to permit her additional time to satisfy the course requirements as a result of the emotional
and psychological effects of the rape and sexual violence.

50. On Monday, May 7, 2018 Jane had a follow-up meeting with Ms. Green
regarding Jane’s Title IX complaint. In this meeting Ms. Green emphasized and insisted on

referring to the events that occurred the night of the offense as “sex”. All statements Ms.

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Green reiterated were immeasurably prejudice toward the Respondent, Nurudeen.

51. During the course of Ms. Green’s Title IX investigation, Jane identified
countless policy inaccuracies as well as improper investigatory practices that were
incompliant with the promulgations of the Title IX Federal civil right statute, its
implementing regulation, the Jeanne Clery Disclosure of Campus Security Policy and
Campus Crime Statistics Act, 20 U.S.C. § 1092 (P) (Public Law 101-542) and its
amendment, the Violence Against Women Act, as amended (Public Law 103-322).

52. In that, on Wednesday June 20, 2018 Jane filed a second Title IX complaint
addressed to Ms. Kiesha David, Ms. Ja’Wana Green and Texas Southern’s now former
President, Dr. Austin A. Lane disclosing the University’s Federal incompliance and
improper investigatory practices with regard to Title IX.

53. Subsequent Janes submission of the aforementioned 2" Title IX complaint,
Ja’ Wana Green and Kiesha David, were fired as the University Title [LX Coordinators.

34. On Wednesday, July 18, 2018 Texas Southern issued Jane a memorandum
entailing their investigative findings of her initial Title [IX complaint of rape, though they
did not respond to Janes second Title [X complaint of Texas Southern’s incompliance with
the Title IX Federal civil right statute by virtue of the tainted investigation.

55. In Nurudeen’s admittance to raping Jane, he was found responsible for
violating Texas Southern’s Title IX Policy and was reprimanded to 1 2 years of suspension
from the University, mandated Title IX training upon returning to the University and a
precaution that Nurudeen was restricted from residing in University housing for the

remainder of his matriculation at Texas Southern.

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B. FALL 2018

56. When the Fall 2018 term began, Jane was undergoing Cognitive Behavioral
Therapy to address the emotional and psychological effects of Post-Traumatic Stress
Disorder (hereinafter ““PTSD”) as a result of being sexually assaulted and subjected to sexual
violence the subsequent semester.

57. This term Jane was determined ineligible for financial aid as she had met her
aggregate loan limits set forth by the U.S. Department of Education and therefore was
responsible for finding alternative funding for her education.

58. In that, and at the recommendation of Dr. Oscar O. Criner, COSET’s Interim
Dean, Jane visited Houston’s Louis Stokes Alliance for Minority Participation Program
Coordinator, Ms. Michelle Y. Tolbert and applied for acceptance into the governmental
scholastic alliance funded by the National Science Foundation.

59. The National Science Foundation is an independent U.S governmental agency
created by Congress in the 1950’s “to promote the progress of science, to advance the
national health, prosperity, and welfare and to secure the national defense...”.

60. The Louis Stokes Alliance for Minority Participation program theory is based
on the Tinto model for student retention. The overall goal of the program is to assist
universities and colleges in diversifying the nation’s Science, Technology, Engineering and
Mathematician (hereinafter “STEM”) workforce by increasing the number of STEM
baccalaureate and graduate degrees awarded to populations historically underrepresented in
African American, Hispanic American, American Indian, Alaska Native, Native Hawaiian,

and Native Pacific Islander disciplines.

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61. H-LSAMP is Houston’s consortium of LSAMP programs and is comprised of
six area colleges including Texas Southern University, University of Houston, Texas State
University, Rice University, University of Houston-Downtown and University of Houston-
Clear Lake, two area community colleges, Houston Community College and the San Jacinto
College District and Houston Independent School District.

62. For admission into the LSAMP scholastic alliance, Jane had to obtain three
letters of recommendation. In that Jane requested recommendations from three COSET
faculty members, two of Janes professors’ that issued Jane A’s in their courses, Dr. Oscar
O. Criner and Dr. Aladdin M. Sleem and Janes academic advisor, Dr. Lila Ghemri.

63. Of the three faculty members, Dr. Criner was the only person to grant Janes
request and recommend her for the scholarship to continue her postsecondary education.

64. Dr. Sleem ignored Janes request all in all and in addition to discouraging Jane
from continuing to pursuing her matriculation in the Computer Science discipline during
advisement, Dr. Ghemri informed Jane she does not recommend students for scholarships
though she had provided recommendations for scholastic and employment opportunities for
several students of the same nationality and ethnicity as her.

65. Dr. Criner is a natural born U.S citizen and Dr. Ghemri and Dr. Sleem are
foreign born citizens of Middle Eastern descent. Jane believed their denials were on the basis
of Janes race, color and national origin as when Jane began her studies at Texas Southern
many natural born U.S. citizen participants shared with Jane COSET’s foreign
administrators’ inconspicuous disinterest in the advancement of Americans in STEM.

66. All of COSET’s departments are predominately overseen if not fully operated

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by foreign born administrators and professors.

67. Jane has personally witnessed these instructors make it a priority in their
instruction, advisement and issuance of scholastic opportunities to exclude and dissuade
American’s from participating in COSET’s educational programs.

68. Jane personally experienced this on numerous occasions prior to her
recommendation requests as Jane witnessed these privileged international students in
COSET miss the majority if not the entire semester while still receiving academic credit for
the course despite their nonattendance.

69. These privileged internationals are too issued relatively higher grades than
American students despite their understanding of coursework and intellectual abilities being
less than others.

70. These students also receive priority consideration for institutional scholarships,
employment and internship opportunities and overall, statistically their graduation rate
continues to increase as American’s representation in STEM disciplines catastrophically
decreases as a result of foreign professors’ allegiance to their perspective ethnicities.

71. Despite their denials, Dr. Criner’s letter or recommendation was sufficient to
qualify Jane for consideration for acceptance into the LSAMP scholastic alliance.

72. On Tuesday, September 11, 2018 Jane was accepted into H-LSAMP and was
awarded a $14,000 scholarship to defray her educational expenses.

73. One of the many stipulations to remain eligible for membership in the alliance
was for students contribute 15 hours weekly toward collaborative learning that had to be

completed in the Collaborative Learning Laboratory (hereinafter “the Laboratory” or “Lab’’)

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located in COSET’s Science Building, Suite 103.

74, When Jane began her collaborative learning hours she began struggling with
her academics and her emotional health worsen as a result of the hostile environment
perpetuated by the LSAMP Scholars, Program Coordinator and Directors.

75. LSAMP’s Program Coordinator, Ms. Tolbert, whom was responsible for
overseeing the operations of Laboratory and academic success of Scholars, abandoned all
responsibilities to take a sabbatical and left the Lab in the hands of the Scholars.

76. In Ms. Tolbert’s absence the Laboratory’s environment was hostile as the Lab
became a playground for socialization, the orchestration of cheating scandals and a meet-up
place for Scholars to engage in side bar discussions regarding campus gossip, personal
relationship problems, sexually inappropriate dialogue and sometimes sexually
inappropriate activities.

77. This distorted the aura of the intended purpose of the Collaborative Learning
Laboratory and was in complete opposition of the National Science Foundation’s mission
and goals for the orchestration of LSAMP programs.

78. Other LSAMP Scholars were too struggling academically and as a result some
Scholars, such as Asia Bryant engaged in quid pro quo with professors to secure passing
grades to maintain their status in the alliance and have priority access to educational
opportunities such as internships, academic provisions, employment opportunities and
overall institutional advancement.

79. Asia and Jane were both enrolled in Dr. Roderick Holmes, MATH 250 Linear

Algebra course in the Fall 2018 as well as several other LSAMP Scholars.

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80. Dr. Holmes, in addition to serving the University as the Department Chair for
the Department of Mathematics and Associate Professor, is a tutor and mentor to the
Scholars in the LSAMP program.

81. Asia Bryant and Dr. Holmes had an intimate relationship that abruptly ended
prompting Asia to petition an anonymous complaint in COSET’s Town Hall meeting on
Wednesday, November 28, 2018 disclosing alleged unprofessionalism by Dr. Holmes as
well as his accomplice, Dr. Willie Taylor, H-LSAMP’s Associate Director.

82. Subsequent this relational separation and publication of Dr. Holmes
indiscretions, Asia who would normally cater to and overtly offer assistance to Dr. Holmes
during instructional class time, did not attend class for several days if not weeks. In her
absence, while negating his obligation to cover course material Dr. Holmes utilized the
entire class times to discuss how bitter woman blackmail married men when men ultimately
decide to stay with their wives and leave the side chick.

83. Dr. Holmes would also share his hatred and disliking for Caucasians, or “white
folk” as he would call them. He’d allocate at least 30 of the 50 minutes of class to justify his
disliking for Caucasians persons ranging from a variety of unconstitutional theoretical
reasoning correlating these experiences to his involvement with University of Houston
personnel.

84. In addition to the racial discriminatory environment perpetuated by LSAMP
overseers, the Laboratory too lacked basic educational necessities for academic success such
as functioning computers, operational printers, printing paper, dry erase markers, tissues,

paper towels and educational literature.

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85. In Ms. Tolbert’s absence, Jane made an effort to keep the Lab operational by
personally purchasing things for the Scholars such as tissues, printing paper, hand sanitizers
and dry erase markers out of her own money.

86. The Scholars were thankful for these contributions and thanked Jane.

87. Contributing 15 hours weekly to this mismanaged Laboratory in addition 15
credit hours became burdensome, as Jane was still left with the responsibility finding
additional time to do studying that couldn’t be done in the Lab due to the hostile environment
and her deteriorating mental health as a result of.

88. Jane tried sharing these pertinent concerns with Ms. Tolbert during her rare
appearances in the Lab, however Ms. Tolbert just informed Jane that she needed to try harder
and while hastily gathering her things for her next planned vacation.

89. Midway through the Fall term, on Thursday, October 4, 2018 while Jane was
on her way to school, she witnessed a man committed suicide by jumping from the Pinemont
Bridge on to the Northwest Freeway (290 West).

90. The deceased was strike by an 18-wheeler that dismembered his body
scattering his remains across the freeway, leaving remnants of the deceased’s blood on
Janes, and other vehicles.

91. Still in shock, Jane still attended class that day. Witnessing this tragedy left
Jane traumatized, despondent and exacerbated her phycological symptoms of PTSD.

92. Furthermore, this resonated with Janes as her father too committed suicide
publicly when she was an infant and witnessing this event, in addition to enduring repeated

sexual violence flared traumatic flashbacks and feelings and emotions of suicidal ideation

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in addition to her PTSD.

93. Three weeks later, on Sunday, October 28, 2018 Janes grandmother
unexpectedly passed away. Janes grandmother played a significant role in her life as she
assumed that parental role in Janes life after her father’s unfortunate passing.

94. This left Jane distraught, clinically depressed and emotionally and mentally
unable to prosper academically considering the already hostile environment perpetuated in
LSAMP Laboratory and the overall unconstitutional operations University.

95. In an effort to address these phycological symptoms on Monday, November 9,
2018 Jane visited Texas Southern’s Counseling Center however due to limited staff and
University recourses allocated for counseling services the one counselor available to serve
the entire congregation of “10,000” students was only able to schedule an appointment for
Jane once for the semester.

96. Moreover, Janes counselor was not able to schedule a follow up with Jane until
the Spring 2019 term, 8 weeks later.

97. The semester was near to concluding and Jane desired to share these concerns
with Ms. Tolbert however Jane dreaded doing so for many reasons.

98. Ms. Tolbert would often say things like, “I’m gone take ya scholarship!” or
“You know what yall don’t wanna act right I’m just gone take ya scholarship” in an abusive
threatening tone when the LSAMP scholars wouldn’t do something as Ms. Tolbert requested
of them or how she requested of them, like apply for internships.

99. She reiterated those threatening statements, at least 3 times within a 3-hour span

of her rare presence in the Laboratory. On a specific occasion Jane heard Ms. Tolbert speak

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of a male LSAMP student who was struggling academically and say, “I’m gone get ‘em on
up outta here” in a low mumbled tone while talking through her teeth.

100. In this, Jane knew there stood a great risk of Ms. Tolbert apprehending her
scholarship stipend due to her disabling condition.

101. Jane was emotionally and mentally distraught. Jane knew that despite her
perseverance because of the already persuasive hostile environment and her deteriorating
mental health as a result of, she could not perform at her full potential and exemplify through
her coursework and exams that she thoroughly understood the course material instructed.

102. In that Jane requested an “I” or “Incomplete” in four of her five courses on
Saturday, December 8, 2018 due to the academic inferences of witnessing and experiencing
traumatic events occurring beyond her control.

103. An “I” or “Incomplete” is an institutional academic provision provided to
students when a student has completed and passed a majority of the work required for a
course but, for reasons beyond the student’s control, cannot complete the entire course.

104. Janes requests was sent via e-mail to three professors, Dr. Khaled Kamel, Dr.
Pratap Talusani and Dr. Sharlette Gilbert.

105. In Janes e-mail she informed the recipient professors of her mental health
diagnosis and disability, the traumatic events that occurred that term being the public suicide
Jane witnessed, losing her grandmother and her exacerbated symptoms considering her
father’s too unfortunate suicide passing.

106. Jane made an in-person request to Dr. Roderick Holmes.

107. Two professors’ granted Janes requests for Incompletes however two

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professors. Dr. Khaled Kamel and Dr. Sharlette Gilbert denied Janes request and thereafter
issued Jane failing grades despite her eligibility for this academic provision.

108. Dr. Pratap Talusani responded to Janes request with compassion and care. His
e-mail response to Jane stated “I understand your situation. I have already turned in a grade
C for you. I can still change it to an I, but I need to know before 11PM tonight. Let me know
for sure. Regards, Professor Talusani”.

109. Dr. Roderick Holmes granted Janes request as well, though verbally.

110. Dr. Khaled Kamel ignored Janes request all in all.

111. Subsequent three e-mail attempts, Dr. Sharlette Gilbert responded to Janes
request with “Thank you for your message. I do not give “I’’/Incompletes. I have submitted
the grades to the Registrar’s Office...and they are final. Thank you. Sincerely, Dr. Sharlette
A. Kellum-Gilbert.”

112. The prior term in the Spring of 2018 Jane was issued an Incomplete when her
cause was due to her Title IX case and she believe her denials this Fall 2018 term were on
the basis of her disability and protected classes.

113. In this, on Thursday, December 20, 2018 Jane visited Ms. Toni Gray, TSU’s
newly documented “Title IX Coordinator” to inquire of the official process to attest a Title
I/Section 504 disability discrimination complaint in an effort to attest the denials. In this
encounter Ms. Gray was unbiased, polite and provided Jane with the University’s Title
I/Section 504 Policy that expired on September 1, 2016 under the leadership of Texas

Southern’s prior President before President Austin Lane, President John Rudley.

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C. SPRING 2019

 

114. Over the winter break Jane visited the University of Houston’s Trauma and
Anxiety Clinic of Houston (hereinafter “TRACH”) where she received immeasurable
support, resources and began a personalized treatment plan to address her mental health.

115. A stipulation to remain eligible for membership and financial assistance in the
LSAMP scholastic alliance was for Scholars to maintain an overall GPA of 2.5.

116. Jane failed to meet these requirements as a result of her discriminatory
Incomplete denials the subsequent semester, placing Jane in a Probationary status.

117. Before the semester resumed, on Tuesday, January 15, 2019 around 7:00AM
Jane went to the Collaborative Learning Laboratory to notify the LSAMP committee of her
disability and unsatisfactory academic performance as a result of.

118. At this time, Jane was the only person in the Lab until Ms. Tolbert arrived
around 10:30 AM. When Ms. Tolbert arrived her demeanor towards Jane was strange, in
comparison to their prior encounters. Though Ms. Tolbert was never entirely professional
she was at minimum cordial with Jane however at this moment Ms. Tolbert made a clear
statement that she was disinterested and has a personal disliking to Jane.

119. When Jane saw Ms. Tolbert, Jane spoke and said “Hey Ms. Tolbert” excited to
see her and with hopes to discuss Janes future in the alliance however Ms. Tolbert just
blankly starred at Jane, rolled her eyes, shook her head, went into her office, closed the door

and began making personal calls.

120. On Friday, January 18, 2019 at 10:25 AM Jane visited Ms. Charlette Whaley,

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COSET’s College Business Administrator III to inquire of the process of petitioning a
complaint against employees in COSET due to Ms. Tolbert’s unexplainable indifferent
treatment towards Jane and COSET professor, Dr. Khaled Kamel’s discriminatory denial of
Janes incomplete request.

121. In this visit, Ms. Whaley provided Jane with a complaint form via Janes
University email and the proper channels to report such incidents.

122. On Friday, January 25, 2019 Jane had an advising session with Dr. Lila Ghemri,
COSET’s Interim Chair for the Department of Computer Science and Academic Advisor.

123. Dr. Ghemri’s demeanor and interactions with the student before Jane, who was
of the same ethnicity as Dr. Ghemri was professional, informative and supportive.

124. In Janes advising session, Dr. Ghemri was rude and too expressed a sincere
disinterest in assisting, helping and interacting with Jane. While Jane was attempting to
register for advanced courses Dr. Ghemri euphemistically recommended that Jane
discontinue her educational studies in COSET and in the Computer Science discipline.

125. Despite Dr. Ghemri’s prejudice and objectionable advisement Jane registered
for 15 credit hours for the Spring 2019 academic term.

126. On Wednesday, January 30, 2019, a week into the semester while in the
LSAMP Lab, Jane made a second attempt to connect with Ms. Tolbert. Ms. Tolbert’s
demeanor remained unpleasant and unwelcoming specifically to Jane considering Ms.
Tolbert had a friendly grandmotherly tone with the other Scholars.

127. Jane inquired whether Ms. Tolbert received her e-mail regarding her standing

in the LSAMP program. Ms. Tolbert confirmed that the LSAMP committee received it

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though none of the parties felt it was worth a response.

128. In this conversation, Ms. Tolbert treated Jane with miniscule respect. The entire
time Jane spoke to Ms. Tolbert she was playing a game on her android and as Jane attempted
to speak with her about pertinent matters that required the program coordinators attention,
she continued punching the bubbles on her phone with her index finger with her lips twisted
to the side.

129. Ms. Tolbert’s speech was slurred and staggered due to her being so engrossed
in her game. She did however inform Jane that she would provide her with a letter regarding
her standing in the alliance but not at that exact moment and dismissed Jane with malice.

130. A few days later, Jane followed up regarding this matter. This time Ms.
Tolbert’s disposition was surprisingly more demeaning and insulting than Janes previous
encounters.

131. Upon entering the LSAMP Laboratory Ms. Tolbert spoke to all of the students,
individually, by name, except Jane. A few moments after Ms. Tolbert settled in her office,
Jane knocked on her door. Ms. Tolbert looked at Jane but did not say anything. Jane greeted
her then asked Ms. Tolbert if she could provide Jane the letter regarding her membership
standing as an LSAMP Scholar and scholarship recipient.

132. Ms. Tolbert did not respond to Jane though she began to shuffle through stacks
of papers dropping some on the floor in addition to a metal spoon. She was fidgety. When
she found the letter, she was to provide to Jane she held it up at Jane, while still looking
down at the floor.

133. Jane took it from her hands and said, “Thank you.”, again Ms. Tolbert ignored

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Jane. During this encounter with Ms. Tolbert she did not utter a word or acknowledge Jane’s
presence.

134, Other LSAMP Scholars, some being classmates of Janes were in the Laboratory
when this conversation was had.

135. Ms. Tolbert’s treatment towards Jane was so disdainful and pronounced that
Janes peers recognized the difference in her treatment towards Jane and inquired why. Jane
too was astounded by this unwarranted treatment therefore making a rebuttal illusory.

136. Following this encounter with Ms. Tolbert many LSAMP Scholars, some
whom Jane had classes with began to monitor and micromanage Jane. Some of their
monitoring mechanism would entail monitoring Janes whereabouts and following Jane
when their classes together would conclude. The Scholars would also follow Jane to her
vehicle when she’d leave the LSAMP Laboratory.

137. There was also a heighten presence of police in the LSAMP Laboratory,
simultaneous with Ms. Tolbert’s unlawful discriminatory and retaliatory harrassment.

138. On Monday, February 4, 2019 around 8:00 PM Jane was sitting in the
Collaborative Learning Laboratory studying and janitor Elaine R. propped the key card
access entry door open with a wet floor sign and left.

139. Moments following a TSU Police Officer entered the Lab, closed the door and
sat at a computer near the rear east corner. He sat in the Lab and observed Jane for
approximately 2 hours before leaving. Jane and the Police Officer were the only persons in
the lab during this time.

140. Periodically, Jane would turn around to see what the Officers cause of action

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was however he was just blankly staring at Jane.

141. Jane was petrified and as a result left Lab.

142. The next day, Tuesday, February 5, 2019 at 1:30 PM Jane had left the LSAMP
Lab (located in the Science Building) to go her classes (located in the Technology Building).

143. While on her way Jane decided to sit at a bench in the passageway between the
two buildings to get some fresh air. As Jane sat there, a TSU Security Officer came rolling
by on a utility truck while evidently observing Jane. The Security Officer drove in a repeated
circular motion in the driveway until Jane got up and entered the Technology Building to
attend class.

144. Later that day at 4:04 PM, after Jane finished her classes in the Technology
Building, she began walking toward the Science Building to revisit the LSAMP Lab to study.
As Jane walked out of the door a TSU-PD Officer was sitting in the passage way again
observing Jane.

145. The following day was Ms. Tolbert’s mandatory LSAMP meeting. Initially
Jane was not was not planning on attending due to a prearranged counseling appointment
however Jane was able to reschedule and attend the meeting.

146. On Wednesday, February 6, 2019 at 4:56pm Jane walked in the Lab to attend
the meeting. As she entered the room, Jane overheard an LSAMP Scholar say “Omg she
came and tha meeting bout’ her” while attempting to whisper to her friend.

147. As Jane continued to walk toward where she’d normally sit, she passed Ms.
Tolbert who repeatedly uttered derogatory vulgarities at Jane. Asia Bryant, a student whom

is relatively close with Ms. Tolbert too reiterating similar derogatory slurs as Jane passed

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the two of them to find a seat for the meeting.

148. When the meeting began Jane sat at the front table. As Jane sat Ms. Tolbert and
Dr. Willie Taylor scowled at Jane with utter disgust. Jane was attempting to show Ms.
Tolbert she was taking her participation in the alliance seriously by giving her my undivided
attention not to be the objective of retaliatory harassment.

149. More importantly Jane couldn’t understand what she had done to be referenced
to with such sexually defamatory vulgarities. Ms. Tolbert and Asia’s behavior was very
familiar to Jane as she experienced the same treatment when the claims of her subsequent
Title Federal lawsuit were publicized at her former University, PVAMU.

150. Asia Bryant also jokingly mimicked sexually explicit gestures of the act of
engaging in sexual intercourse while snickering and laughing.

151. Ms. Tolbert began the meeting in a dry, bothered mumbling tone. She stood
directly in front of Jane and said “Things happen, life happens but we have to bounce
back...okayyyyyy” while popping her lips concluding the statement.

152. She too discussed that there were students in LSAMP who hadn’t performed
well academically and made an implication saying they knew who they were while gazing
right at Jane catching the attention of the other Scholars.

153. When the meeting was over, Jane went over to where Ms. Tolbert was
distributing organizational T-Shirts to receive the shirts she’d paid for. Ms. Tolbert skipped
over Jane and began to assist another LSAMP scholar named Sara. Feeling unwanted,
humiliated and devastated Jane proceeded to leave the Lab.

154. As Jane was near to the door, Jane saw Alicia Fontenot a veteran in the LS AMP

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program. Alicia inquired about Janes hair and the technique Janes stylist used in achieving
the style.

155. In mid conversation, Asia Bryant squeezed in between them, with her back-
facing Jane, bumping Jane in the process and began a conversation with Alicia. “Hey pretty
girl” she said to Alicia, while glancing at Jane with a smirk.

156. Thereafter Jane concluded her conversation with Alicia following Asia’s
interruption and exited the Lab in tears.

157. At this moment, Jane knew that somehow, someway Ms. Tolbert and her peers
were aware of her sequent Title [IX Federal suit and what she was experiencing was
retaliation for her subsequent engagement and participation in protected activity.

158. In this, and in addition to preparing official grievances regarding her
discriminatory incomplete denials, Jane began preparing a formal complaint regarding the
illicit activities she witnessed occurring within H-LSAMP.

159. The following day, Thursday, February 7, 2019 Jane was in the LSAMP Lab
studying. Only two Scholars were in the Lab at this time. A male Scholar and Jane.

160. Ms. Tolbert came in and inquired whether anyone had seen her “little nephew”
though he was an adult. The male student responded that he had not seen him, and Ms.
Tolbert began walking back towards the door.

161. Before she exited the Lab, Jane said, “Hey Ms. Tolbert” in hopes of her
disposition toward Jane being accidentally but before Jane could finish her statement, in
mid-sentence Ms. Tolbert over talked Jane saying “Hey yall, uh huh, how yall doing?” in a

stale tone though she had already spoken to the male student.

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162. This was the fifth distinctive encounter Jane had with Ms. Tolbert that
contributed to Janes exclusion from participation in the University’s Federally funded
LSAMP program and was utterly humiliating and discouraging for Jane.

163. About 30 minutes later Ms. Tolbert returned, this time with her “little nephew”.
Shortly after, Jane left the Lab to escape the uncomfortableness that evokes being around
someone who has discriminated against you, leaving her MacBook Pro and backpack on the
table where she was seated.

164. When Jane returned her things were in a disarray and scattered in comparison
to the manner in which she’d left them. In particular, Janes MacBook was dispositioned, and
tabs Jane had closed were open, one being a notice of discrimination regarding Ms. Tolbert’s
discriminatory and retaliatory treatment and a report of misallocation of Federal grant funds
expended to H-LSAMP from NSF.

165. The only individuals in the Lab during this short interval of Janes absence was
Ms. Tolbert, her “little nephew” and a male LSAMP Scholar.

166. Following Ms. Tolbert searching Janes MacBook and viewing Jane complaint
correspondence entailing her discriminative and retaliative behavior towards Jane, her
disposition changed instantly. Ms. Tolbert’s demeanor was still disrespectful yet somewhat
subtle.

167. About 20 minutes after Jane returned to the Lab Ms. Tolbert stopped to ask
Jane if she’d gotten her classes together, told Jane that she was a good student and that she’d
do well that semester in a trembling tone.

168. Thereafter she walked off and mumbled “Got that over with.”

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169. It was awkward, and Jane was hesitant in responding as a result of. Just weeks,
days and literally moments prior Ms. Tolbert’s behavior toward Jane consisted of ignoring
her in regard to organizational and academic matters, over talking Jane, dis-acknowledging
her presence and spewing derogatory slurs at Jane. Now, Ms. Tolbert was extending herself
to address private concerns Jane presented to her weeks prior.

170. Shortly after, Jane left the Lab due to Ms. Tolbert’s behavior distorting the aura
conducive to educational, intellectual and scholastic advancement that instead perpetuated
a hostilely persuasive atmosphere.

171. In addition to enduring the multifarious forms of discrimination within H-
LSAMP and COSET, Jane too was experiencing extensive harassment from Texas
Southern’s Department of Public Safety officers and security officers on a daily basis.

172. Ms. Tolbert orchestrated a thanksgiving canned food drive the prior semester,
and thus required all students to donate specified named brand canned goods for donations.
Jane, one of four Scholars who donated, donated four of each item requested during
September of 2018 however 3 months later they had yet to be donated.

173. As some of Janes perishable donations were due to expire Jane inquired to Ms.
Tolbert whether the LSAMP alliance would still be able to give back to the community with
the donations. Ms. Tolbert did not provided Jane with a response.

174. On Wednesday, February 13, 2019 at 7:38 PM Jane retrieved her canned goods
from Lab to donate them to the Houston Area Woman’s Center, a local organization that
assist and support victims of domestic abuse and sexual assault.

175. Two days later, on Friday, February 15, 2019 at 12:30 PM Jane filed two

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official University grievances via e-mail to three University personnel regarding Dr.
Sharlette Kellum-Gilbert and Dr. Khaled Kamel’s discriminative denials of Janes
Incomplete request on the basis of her disability and other protected classes.

176. Hours later at 5:08 PM Jane received an email from Ms. Tolbert informing Jane
of a mandatory community service event scheduled for the following morning Saturday,
February 16, 2019 at S.H.A.P.E Community Center at 8:00 AM.

177. Ms. Tolbert’s email was sporadic and offered no heads up, so Jane inquired to
another LSAMP Scholar, Alicia Fontenot if she’d also been informed of this event
considering it was not discussed at the mandatory meeting Ms. Tolbert scheduled just days
prior.

178. Alicia informed Jane that she’d heard of it but denied having details regarding
the event.

179. Jane arrived at Texas Southern for the community service event at 8:11 AM.
Upon Jane’s arrival she notified Alicia via text of her presence. Alicia responded and
informed Jane that she wouldn’t be penalized for not wearing a TSU or LSAMP shirt though
the email failed to establish such requirement.

180. Thereafter, the Scholars carpooled, Jane rode alone, and all attendees met at
Shape Community Center located at 3815 Live Oak St, Houston, TX 77004.

181. With such short notice of this event Jane did not have ample time to prepare
herself mentally to be in this hostile environment, so she sat in my car for a few moments to
recuperate and manage her anxiety. Jane was the last person to enter the center.

182. When Jane entered the center, the majority of Janes peers whispered

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instinctively, mainly females, while fixating their attention on Jane. Some even pointed and
made facial gestures while doing so.

183. Every other Scholar had on an LSAMP shirt issued by Ms. Tolbert except Jane.

184. Since Jane was not in appropriate attire she sat to the side, two seats away from
Ms. Tolbert. Jane felt out of place and single out.

185. To start off the community service, one of the representatives at the center
provided a summary of the center’s history and their commitment to the community.

186. Shortly after, he concluded his presentation to assist with the homegoing
service of one of the community elders. He informed the Scholars that since their visit was
unplanned and the center was facilitating the homegoing service they did not have any
volunteer work for the Scholars to participate in.

187. After a few minutes of sitting and waiting for further instruction, Jane asked
Ms. Tolbert why she wasn’t notified to wear a specified shirt for the event and why she
wasn’t issued her shirts though she had paid for them ($42.00) in full on October 22, 2018
and Scholars who had not paid for them received them in spite of.

188. Ms. Tolbert responded by informing Jane she had been extremely busy in the
previous weeks due to assuring the NSF funded H-LSAMP Grant #: 1911310 would be
funded for the following semester.

189. Ms. Tolbert too shared with Jane that she believed the size Jane ordered would
not fit her because Jane was too big, though the shirts were an adequate size.

190. These body shaming humiliating insulting statements lasted about 3 to 4

minutes and Ms. Tolbert made them boastfully in the presence of Janes peers.

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191. Some of the Scholars laughed at Jane as they found Ms. Tolbert’s insults and
sarcasm amusing.

192. Following Ms. Tolbert’s, sizism discriminatory conduct she began to
voluntarily share with Jane her disposition with her personal family issues.

193. All Jane did was inquire why she hadn’t received her shirt and in return Ms.
Tolbert shared with Jane that her brother had passed away and her mother was very ill, while
shedding a tear.

194, Jane responded by informing Ms. Tolbert that was understandable however she
did not grasp Ms. Tolbert’s inferred correlation with the reasons provided and her
explanation as to why she hadn’t been issued a shirt considering Ms. Tolbert’s financial
compensation administered by NSF Federal funds dispersed to H-LSAMP was contingent
upon her performing as the Program Coordinator and it was her duty.

195. Moments later Ms. Tolbert began a conversation with another LSAMP Scholar.
Ms. Tolbert inquired how her classes were, what new events/programs she was participating
in and showed genuine concern and interest in conversing with her.

196. Ms. Tolbert’s demeanor and interactions with this student and other students
were contrary to her treatment towards Jane and was a deliberate statement that the way she
was treating Jane was intentional.

197. This further influenced a hostile environment, so Jane got up to view the photos
on the walls of the outreach community center. While viewing the photos Jane saw an
instrument in one of the photos on the wall, she’d once played so she inquired to one of the

gentlemen host if the center had one.

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198. He brought the presenter to Jane, who informed Jane that the center had a band
that played the drum but concluded their lessons when the instructor passed away.

199. In the middle of their conversation, Ms. Tolbert, who was sitting next them,
interrupted Jane to ask the man if he had anything for the Scholars to do. In response, he re-
informed Ms. Tolbert that the center had nothing for the Scholars to do because of the funeral
service they were preparing for and that the Scholars could just look around.

120. In their conversation, Ms. Tolbert mentioned the food co-op program the
scholars were supposed to participate in with their Thanksgiving Drive.

201. She informed the man that the reason she had not brought donations, as she did
in the past 18 years, was because her brother passed away the prior year, her mother was
very ill and as a result she did not have time to bring them, though the center was .6 miles
away from the University.

202. Ms. Tolbert reiterated those statements to the man several times, while glancing
over at Jane. He apologized for her lost and in return informed her that the community center
hadn’t done a food co-op in the past year or so and concluded their conversation.

203. About 5 minutes later, the man who Jane spoke with about the drum returned
and asked Jane if she liked music. Jane said yes and the two began conversing.

204. As Jane and the man were conversing Ms. Tolbert, who was sitting two seats
away from the two got up, walked across the room and attempted to lift a large portrait off
the wall then began yelling and becking for his help.

205. The man who was speaking to Jane stop and ran to assist her.

206. While looking at the portrait in addition to the historic artifacts on the wall Jane

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saw something that caught her eye, so she inquired to the man of its origin.

207. In the midst of this conversation, Ms. Tolbert interrupted Jane again, and
informed the man to inform the Scholars to come and view the portrait of the elder of the
center who passed away.

208. From this point on it was obvious Ms. Tolbert didn’t want Jane to participate
in this event, so Jane returned back to where she was sitting and began reading the pamphlet
the center gave the Scholars.

209. When the event was near to ending Alicia approached Jane. The two began
conversing about hair care and hair products as they normally would, and Ms. Tolbert
interrupted this conversation again requesting for Alicia to bring her clipboard.

210. Thereafter, Ms. Tolbert concluded this volunteer event that lasted an hour.

211. After returning to the school Jane went to Ms. Tolbert’s office to retrieve her
shirts. Other LSAMP Scholars were present during this conversation. Again, in this
exchange Ms. Tolbert continued to reiterate how she couldn’t fathom that Jane could fit the
shirt because Jane was much larger than that size she ordered.

212. In the midst of this exchange a male LSAMP Scholar came and returned a
borrowed shirt to Ms. Tolbert.

213. Finally, after several moments of her public insults she gave Jane her shirts.

214. While Jane was on the way to her car, she saw the male who gave the shirt to
Ms. Tolbert. She inquired how he was he able to get a shirt for the event, he responded and
informed Jane that Ms. Tolbert gave him one to borrow because she wanted everyone in

unison.

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215. Jane believed Ms. Tolbert refusing to provide her with her shirts was for two
reasons, by virtue of her actions and treatment towards Jane, Ms. Tolbert felt Jane was not
worthy to be a Louis Stokes Alliance for Minority Participation Scholar because of her
subsequent participation and claims petitioned in her subsequent Federal lawsuit and on the
basis of her disclosed disability.

216. Subsequent the volunteerism event, TSU-PD’s harassment of Jane worsened
and occurred daily mainly while Jane was in transit to and from the LSAMP Lab.

217. Some of these events occurred on February 20", 215, 23" and the 25".

218. This vigilante harassment exacerbated Janes PTSD symptoms making learning
or any type of scholastic advancement impossible in the unconstitutional environment of the
University perpetuated by administrators through its services and operations.

219. In that, on Thursday, February 21, 2019 Jane visited Texas Southern’s Office
of Human Resources to inquire of Texas Southern’s policies and procedures for
investigating Federal civil rights violations, particularly pertaining to Title IX of the
Education Amendments of 1972.

220. The receptionist referred Jane to speak with Ms. Toni Gray, TSU’s Sr.
Employee Relations Specialist.

221. In summary, Jane informed Ms. Gray that she had been subjected to a hostile
environment by virtue of a University employee subjecting Jane to discrimination on the
basis of her disability and retaliating against Jane for her participation in a Title IX
investigation.

222. In this conversation, Ms. Gray appeared to be genuinely concerned, was polite

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to Jane and showed a sincere interested in understanding Janes concerns.

223. In concluding the conversation, Ms. Gray informed Jane that in order for the
University to investigate these matters formally, a formal complaint would have to be made
regarding the allegations and claims.

224, Therefore, five days later on Tuesday, February 26, 2019 at 5:10 PM via e-mail
Jane submitted an official Notice of Discrimination with Texas Southern asserting violations
of Federal civil rights, Title IX, the Clery Act, Title II and Section 504 addressed to Ms.
Gray and three other University administrators.

225. The following day on Wednesday, February 27, 2019 at 4:30 PM as Jane was
walking toward the Science Building to visit the LSAMP Lab, she happened to run into the
Officer who began the harassment on behalf of Texas Southern Police Department. Jane
inquired to the Officer of his name however he did not respond though he followed Jane to
the LSAMP Lab. This time he did not enter the Lab though he spectated from a distance.

226. When Jane entered the LSAMP Lab the demeanor and communiques of her
fellow LSAMP Scholars were incomparable to the days prior. Upon entering the Lab
students who normally wouldn’t speak to me, spoke and was overtly enthusiastic in doing
SO.

227. This specific day, for the first time during the Spring 2019 term Ms. Tolbert
spoke to Jane and with minimal malice. She also provided Jane with her LSAMP scholarship
award letter she’d been requesting from Ms. Tolbert since the start of the semester.

228. An hour later, at 6:39 PM Jane received an e-mail from BankMobile informing

Jane that Texas Southern had a refund disbursement due to Jane in the amount of $1,750.00.

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229. This notification left Jane perplexed considering the amount of the refund owed
to Jane was of the same monetary value as her NSF stipend and as a nonfinancial aid
recipient Jane never received refunds.

230. Thereafter, Jane signed into her Texas Southern student account for clarity.
Upon signing into her student account and viewing her account information Jane was made
aware that not only had she been administratively withdrawn from enrollment, but her
academic and financial records were nonexistent for the Spring 2019 term.

231. Janes student account also reflected a refund owed to her in the amount of her
Tiger grant, $573.00 however, Texas Southern did not issue a refund of this University
scholarship only Janes NSF’s stipend in the amount of $1,750.00.

232. It was as if Jane had never enrolled in any courses for the Spring term at TSU.

233. Per University policy, Texas Southern adheres to the refund or Adjustment of
Withdrawals/Dropped Courses policy set forth in the Texas Education Code Title III Higher
Education §§ 54.006.

234. Typically, when a student is dropped from enrollment or withdraws from the
University their academic and financial records reflect a “W” for grading in the course and
charges from that perspective term.

235. However, in Janes case her record of enrollment and academic transcript
negated to reflect W’s for the Spring 2019 courses she was withdrawn from or a record of
refundable and non-refundable fees.

236. Jane notified several University personnel of the administrative withdrawal and

none provided support or recommendations to overturn this retaliatory sanction.

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237. On Monday, March 4, 2019 Jane received a phone call from Ms. Gray to set up
a meeting for the following day, March 5, 2019 at 9:30 AM to address her Notice of
Discrimination regarding Ms. Tolbert.

238. In this phone conversation, Jane informed Ms. Gray she’d been
administratively withdrawn from school and Ms. Gray indicated the potential cause could
be derived from non-payment of tuition and fees.

239. Jane also inquired why Ms. Gray carbon copied Mr. Wendell Williams, TSU’s
now former Special Assistant to the President in her e-mail request for this meeting. Ms.
Gray responded and informed Jane she copied him because he was the actual Title [X
Coordinator.

240. On Tuesday, March 5, 2019 Jane attended this meeting. This was the first
formal meeting regarding the submission of Janes Notice of Discrimination regarding H-
LSAMP. Mr. Wendell Williams was present.

241. Initially, when Ms. Gray scheduled this meeting, she neglected to mention Mr.
Williams would be present. When Jane arrived, she surprisingly was greeting by the two of
them.

242. The conversation would constitute as hostile and biased and went as follows.

 

1. Mr. Williams: “You look really familiar. Have we met before?”’
[stares at Janes breasts]
Complainant: [awkward silence]

 

2. Mr. Williams: “J/’m really sorry to hear about your grandmother, are you okay
now?”

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Complainant:

Mr. Williams:

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“Uh, actually I’m not she was a really big part of my life. I mean
people really just don’t get over that.”

“Right, my mother passed away about 2 years ago or so and I
realized it was a couple of stages of that, first missing her and then
missing certain things you would do at a certain time during the
year.”

[awkward silence]

[additional dialogue]

 

3. Ms. Gray:

Complainant:
Ms. Gray:

Complainant:

Ms. Gray:

“Um, the first question I have if......[stutters]... ifvou've been
back to the student center to get any help or anything like that?
“What student center?”

“Um, Um the counseling center with Ms.... Dr. Smith, did vou ever
follow-up with her?

“I didn’t follow up with her to be honest with vou because ....um I
didn’t find the counseling she provided useful, she really just had
me revisit the trauma and to me that was just re-traumatizing.
However, when I sought counseling at other places like Shield
Bearers and University of Houston, they had a more like rigorous
counseling treatment plan that actually was better equipped to
help me with my issues. I did speak with her vou know thinking it’d
help but the fact that she'd schedule my next appointment two
months later that wasn’t as consistent. These people are able to see
me ona consistent basis.”

“T just wanted to make sure you get the help you need.” [in a low
mumbled tone]

 

Mr. Williams:

Complainant:
Ms. Gray:

Complainant:
Ms. Gray:

Mr. Williams:
Complainant:
Mr. Williams:

Ms. Gray:

“You indicated that the Defendant amicably remedied my
complaint prior to litigation therefore dismissing the charges
against the Defendant with prejudice. Coincidentally, one of those
parties most recently acquired a position in the Office of the
Provost at Texas Southern University. What is the name of that
party that acquired that position January 1, 2019?”

“Dr. Kendall Harris”

“So, so [stutters]...really that’s a typo you mean 2018 and not
2019?”

“Tt savs that he began his emplovment here in 2019.”

“Well that was just last month Dr. Harris has been with us the
whole year.”

“The whole year.” [simultaneously with Ms. Gray]

[stutters].... “Zt doesn’t say that online it says 2019.”

“On your on your [stutters]....,our complaint, do you have a
copy?”

“Yea.”

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Complainant: “Well whenever he began working here. I’m not sure when he
began working but following this issue being resolved I came to
Texas Southern University under the impression this was a
nondiscriminatory environment and the first semester of my
education was excellent until my rights were violated and I got a
chance to see how you all policies and procedures were and they
weren't in align with OCR and DOJ nondiscrimination statutes.”

Mr. Williams: “Okay, ummm.”

Complainant: “So, regardless of whenever he came, he is the only person here
that I have knowledge of that has knowledge of this complaint.”

Mr. Williams: “Okavvv....”

Ms. Gray: “T see.”

Complainant: = “And there is legal documentation that documents that.”

Mr. Williams: “Okay.”

Ms. Williams: “You said, this semester you have heard Ms. Tolbert mumble and
outwardly make remarks pertaining to the confidential terms of the
resolution in question and of the nature of the discriminatory
acts...”

Mr. Williams: = “Uh, what were the remarks you heard her make?”

Complainant: “J would prefer to provide that to vou in writing.”

Mr. Williams: “Okay.”

Complainant: = “J’// provide a transcript of it for vou.”

Mr. Williams: “Because we’re going to talk with her, so we need to verif' the
remarks.”

Complainant: “Yes sir.”

{additional dialogue]

Mr. Williams: = “Who was the LSAMP Scholar who spewed the derogatory slurs?”

Complainant: “Asia.... [forgot her last name but it’s in my complaint.”

Mr. Williams: = “What were the acts described in the statements listed above vou
said that.... You’re gonna put that in writing as well?”

Complainant: “Yes sir.”

Mr. Williams: = “Can vou provide us a copy of the resolution that vou ... uh
[stutters]... w/ mentioned in vour complaint?”

Complainant: = “That can be provided to vou at a later date because I... If this isn’t
resolved... If I feel like this is not fairly resolved because I feel like
I’m bring valid claims to you. I’m not going attempt to bring
something to vou if it’s not valid. Do you see what I’m saying?”

Mr. Williams: _[interjects]

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9.

 

 

Complainant: “Just to be fair to the other person. I don’t feel comfortable
disclosing that information to you considering everything I’ve been
through, so that information will be disclosed to you at a later
point in time. During discovery you can discover that
information.”

Mr. Williams: _[interjects] “Aegan let me just try to help vou too.”

Complainant: “Yes, sir.”

Mr. Williams: = “We want to get to the bottom of it and if vou have not been treated
Jairly, well .... [pause] we’ve got to have as much information as
we possibly can.”

Complainant: “Well sir I’ve already been retaliated against. I don’t feel
comfortable. I can’t even focus here. I feel like I’ve proven that I’m
nota bad student. When I first got here I did verv well.”

Mr. Williams: “Okay, so what I’m asking for...”

Complainant: _[interjects] “:4// I’m asking for is for people to treat me with
respect and acknowledge my rights. Period. Ms. Tolbert may be
disgruntle about whatever issue about this resolution that she is
disgruntle about it doesn’t matter because its further violating mv
rights. It’s called retaliation. It was none of her business this
happened prior to me being here.”

Ms. Gray: “So....[stutters].... so let me ask this. So, what I’m hearing is that
there was an incident that happened prior to you coming to TSU
with ...involving Dr. Harris?”

Complainant: “Yes.”

Ms. Gray: “And that Ms. Tolbert is aware of the incident that happened prior
to TSU, not something that’s happened since you've been here?”

Complainant: “No.”

Ms. Gray: “Not something that happened prior to you coming here. Got it!”

Mr. Williams: “And yvou’re saying Dr. Harris is the one that told her that
information?”

Complainant: ‘J just want it to be known that he is the only person that I
reasonably know of that has information about my complaint. My
Jamily much less knows information about this compliant. Let
alone participants of Texas Southern. I have not informed anybody
of that since I’ve been here.”

Mr. Williams: “Okay, got it.”

Mr. Williams: “Are you registered with disability services?”

Complainant: “No Sir, I was in the process of getting registered when I was
withdrawn from school.”

Mr. Williams: “Okay.”

Ms. Gray: “There was an incident in here that was um.... where vou

mentioned about the day we had the bomb threat and that Asia was
with someone else do you know who that other person is? ....”

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Complainant: “Alicia Fontenot.”

10. Ms. Gray: “Has Ms. Tolbert ever contacted you outside of....[stutters]....of

TSU? Has she sent you anv text messages?”

Complainant: “No ma’am.”

Ms. Gray: “Okay.”

11. Mr. Williams: = “You indicated that you left some materials in the lab...”

Complainant: __[interjects] This is the resolution I’m referring too. I feel
comfortable sharing this information with you all.”

Mr. Williams: “Okay.” [grabs my MacBook]

Complainant: = “Jf you could just glance over it momentarily.”

Mr. Williams: “Okay.” [begins skimming through settlement agreement on my
MacBook] .... “Zhank vou.”.... [provided assistance to Mr.
Williams in scrolling through pages] ... “Let me go back again.”

Complainant: (Grabs MacBook] “So you get the just in summary.”

Mr. Williams: “Okay.”

Complainant: “Okay.”

Mr. Williams: = “Those hand-written notes were made by...[stutters]... by...”

Complainant: “The defendant. This was written bv the defendant. Signed. This is
the draft, I have the original as well.”

Mr. Williams: “Okay.” [takes notes]
[prolonged awkward silence]

12. Mr. Williams: = “You indicated that when Ms. Arnold finish reading the complaint,
that was on the day of the bomb threat. I was over at that meeting I
was in the building when that occurred and the LSAMP Scholar
who ran off accompanving her laughing and smiling. Who is that
person?”

Complainant: = “Who accompanied Asia? .... Alicia Fontenot.”
Mr. Williams: = ‘“‘Speil it.”
Complainant: “F-O-N-T-E-N-O-T”..... “J’m not sure how to spell it.”

13. Mr. Williams: = “Jn your Exhibit 1, you indicated that you'd gotten all A’s but your
CS 248 when I looked it had a “W”? Have you worked that W off
ver?”

Complainant: “It’s supposed to be an “I. I have two semesters to address it. I
missed something in that class due to me having to address a Title
LX issue however in mv other 4 courses I got A’s in.”

Mr. Williams: “Have vou...have you...[stutters]... are vou still working on that

[?”

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14.

16.

Complainant:

“I was in the process of working through that but as vou can see
all I went through last semester and everything I’ve been going
through this semester dealing with Ms. Tolbert I haven’t even had
a chance to really focus. It’s not that I am incapable of doing the
work. This environment is very hard for me to focus.”

 

Mr. Williams:

Complainant:

“You indicated that her treatment...and I assume you mean Ms.
Tolbert, was so disdainful and pronounced that your peers
recognized it...Who were those peers?”

“I don’t even remember their names, but I remember them by
face.”

 

. Ms. Gray:

Complainant:

Ms. Gray:

Complainant:

Mr. William:
Complainant:

Ms. Gray:

Complainant:

“What were some of the comments they said for you to recognize
they knew?”

“It was of the monetary value of the agreement.... The settlement
agreement.”

“Awwwww, okay.”

“So, in...help me...[stutters]... the peers mention the monetary
value of the settlement agreement?”

“I didn’t say my peers and like I said I'll provide that information
to you in writing. Anything you want to know like statements, I'll
provide those to vou in writing.”

“Okay.”

“Because I want to give you a true recollection of events that has
happened. I at least thought that in this meeting you would give me
the process for the complaint because I sent you questions, and you
didn’t respond to them.”

“T have vour questions and I’m going to answer them. I like to do
this face to face it’s hard for me to...[stutters]...fo... for vou to
understand my sincerity over the phone I'd rather us talk and build
something so you can trust me and know I'll look into your
situation that’s why I said let’s meet, instead of sending questions
back to vou. It’s a little bit...[pause]... Impersonal.”

“Okay mavbe I’m an impersonal person.”

{additional dialogue]

 

Mr. Williams:

Complainant:

“You indicated that vou left some materials in the Lab. Was there
anything missing from the materials that were left in the lab?”
“Yea I had a pair of earphones that were missing from my iPhone
X. I inquired about it to the janitor, but she said she didn’t see
anything.”

 

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17. Mr. Willlams:

Complainant:

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“You indicated that on vour way to the car you saw a male student
give a shirt to Ms. Tolbert... Who was that student?”

“I don’t know their names, but I know their faces. If vou give mea
picture, I'll be able to show vou. I’ve asked their names, but they
won't tell me. They don’t even talk to me.”

 

18. Ms. Gray:

Complainant:
Mr. Williams:
Complainant:
Mr. Williams:

Complainant:
Ms. Gray:
Complainant:
Ms. Gray:
Complainant:

“So, I want to make sure that I have a better understanding. There
was an event unnn...[stutters]... she passed out shirts...[stutters]...
She didn’t give you a shirt, but she handed out shirts to the people
who didn’t have a shirt and didn’t give you a shirt until after the
event was over?”

“Yea.”

“Did she invite you to this event?”

“She did the day prior at five PM or approximately five PM.”

“I believe that was in one of vour Exhibits if I remember
correctly...”

“Yes.”

“So, she waited until the end of the day to give vou a shirt.”
“Yes.... this is how I feel.”

“That’s what I wanna know.”

“T’ve already dealt with things like dealing with Ms. Tolbert, so it
was easy for me identify that she was retaliating against me. If I
had never been through that before I’d be like...nmmmm....
Mavbe.... But no. I was able to identify it because I’ve been
through that before and I know what it defines, and Ms. Tolbert
has been retaliating against me and I feel like she feels because of
the settlement I should not be a scholarship recipient and I should
not have the scholarship as a result of. That is not a part of my
income that is a part of something I lost that no monetary value
would ever replace. So, it’s not even about that I would much
rather not have my rights violated than to even have to deal with it
at that level and that’s what I’m trving to do now. That’s the
reason why I went through the lengths. As you can see that was a
very lengthy report. I went through the lengths to report that to
vou, so it doesn’t get that far because it doesn’t have to.”
[prolonged awkward silence]

 

19. Mr. Williams:

Complainant:

“You indicated that her discriminatory treatment didn’t begin until
your notification of vour disability to the LSAMP committee and
her acquiring knowledge of your LSAMP complaint by....
[stutters]...confirmation of her retaliatory statements... How was
she notified of vour disability?”

“I did via email which was in one of mv Exhibits... I emailed Ms.
Tolbert... Dr.......the rest of them...”

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20.

21.

22.

23.

Mr. Williams:

Complainant:

Mr. Williams:

Complainant:

Mr. Williams:

“Okay...and the same way as your Title 'IX complaint was via
email as well.”
“Yes.”
“Same thing with the two veteran LSAMP students. If vou had
pictures, you'd be able to identify them as well...”
“Yes.”
“Okay.”

 

Ms. Gray:

Complainant:
Ms. Gray:

“So, was there any conversation... I know vou notified them via
email but was there any verbal conversation she had with you
about vour disability?”

“No, I informed her, and she just told me to do better...”
“Okay.”

 

Mr. Williams:

Complainant:

“You provided a copv of the notification that you were in LSAMP
and it said in there see attached for...uhh...[stutters]... terms or
agreement...do vou have a copy?”

“She never gave me those I provided to you what all Ms. Tolbert
ever gave me. To be honest with you a lot of the ways she handled
business was not done properly. That’s why my stipend didn’t post
fo my account until October .... School started in August.”

 

Mr. Williams:

Complainant:
Ms. Gray:
Complainant:

“You indicated vou weren’t awarded the LSAMP award...
[stutters] what was the date of that award?”

“It was awarded in August of 2018.”

“But it wasn’t posted until October?”

“She would send us to go to financial but when we'd visit financial
aid the financial aid advisors would tell us that Ms. Tolbert had to
send them that information. I can send you a screenshot of that as
well. She was telling us to go handle this, but these are things she
should’ve been handling. The other Scholars feel indebted to Ms.
Tolbert because they feel like oh my God Ms. Tolbert has blessed
me with this money. I’ve been able to go to school, I will never
betray her, oh my God Megan you're such a horrible person. It is
not fair to people who are participants of this program to be left
disadvantaged. I feel like I could’ve done better. I’m a good
student and if Ms. Tolbert had told me Megan this is what vou need
to do. Go to the Office of Disability Services.... How do you I know
that if I’ve never had to register?”

 

Mr. Williams:

“ee

mmm... So, the essence of vour...usually first and foremost

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Complainant:

Mr. Williams:
Complainant:

vour documentation and how well you put your complaint together
was great. Normally this first meeting we have we'd be telling vou
to tell us your story. Tell us what happened but you had evervthing
laid out that all we had to do was go through and ask questions
about clarification and things we didn’t have. So, your basic
complaint...Was it due to Ms. Tolbert’s absences or was it due to
your disability? What was the reason for your lack of
performance?”

“I just feel like it was a trickling effect. I feel like first of all I was
really punished for doing poorly. Most people are like oh I had a
lot going on that’s why I didn’t do well. I feel like my
documentation proved that I had a lot going on. Like I was already
working through mv problems and I was doing good. Already
addressing vour mental health that stigma is already looked down
upon in our community, so I was already look at indifferent for
that. Lam not going to feel bad about that because its real and it
can happen to anvbody so I’m not going to feel bad about
something like that.”

“So...”

“She just didn’t do anything and when I did poorly it was like oh
you're making me look bad and it was in contribution to her
making statements about this...”

 

24. Mr. Williams:

Complainant:

“SO... [stutters]... You were not able to perform all the
requirements for the LSAMP program last fall?”

“Yet I was the only person who got niv money cut. On the list of
reasons to cut money there were other reasons like not complying
with lab hours. Ms. Tolbert doesn’t care about that as long as
you're bringing in the grades. I’m like if I would’ve known that I
wouldn’t have not came in here 15 hours a week. That’s a big
sacrifice, lam amom.”

 

25, Mr. Williams:
Complainant:

[interjects] “So your grades were affected because of the....?”
{interjects] “Jt was the combination. It was a lot going on, but I’ve
been through a lot. I was still coming here but the environment in
the Lab, Ms. Tolbert not being there. I’m thinking this is a
requirement. So, even though I failed in the process of trving to
comply with this requirement I still tried, and my money was still
cut. People who didn’t come, as long as you're making good
grades as long as you're making NSF look good, vou’re good vou
can get vour money and you can get extra monev If you do Tittle
stuff for me here and there.”

 

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26. Mr. Williams:
Complainant:

Ms. Gray:
Complainant:

Mr. Williams:
Complainant:

Mr. Williams:
Complainant:

Mr. Williams:
Complainant:

Mr. Williams:
Complainant:

Mr. Williams:

“So when was Ms. Tolbert... when do you believe Ms. Tolbert was
told about your previous...”

{interjects] “Obviously over winter break. It was very different. It
was like night and day.”

“So...”

“It was literally like night and day that’s the reason why I went
through the extent.”

[interjects] “So vou believe she found out from Dr. Harris over the
winter break?”

“I’m assuming. She could've found out that way or some other wpe
of wav.”

“So the fall semester she never mentioned anything?”

“No. I want...... want to let vou know that even from now he’s the
only person that I reasonably know that has knowledge of this
agreement here. I want that to be on record. Number two, I don’t
know how Ms. Tolbert acquired that information however he is the
only person I reasonably know of that has that information.”

“But during the fall semester any type of action she made against

you was not due to her knowledge or so?”

“Ms. Tolbert was still “Hey Megan how va doin?” she was still...
It was just night and day.”

“Did it change after she saw your grades for the fall?”

“Tt was just about that time.... It was when the Spring semester
started. There is a difference between vou being disappointed with
a student about their grades and the manner in which Ms. Tolbert
treated me.... [additional dialogue] Every person that came to
speak to me she interrupted. She didn’t want people speaking to
me. It’s a difference between you being disappointed it’s just like
ohhhh this girl is a little more than what I thought. She didn’t think
much of me when I came to apply for the scholarship...I’1l give her
money blah blah blah now that she knows something about me,
she’s feeling some type of way and her feeling some type of wavy is
called retaliation.”

“Okay and that concludes my questions... Ms. Grav.”

 

27. Ms. Gray:

“So just to answer vour questions, you asked how long will it take
TSU to conduct a formal investigation. So, our policy savs that....
um.... [stutters] savs it’s 60 calendar...I mean business days. So,
what we’re doing now that’s why we asked the questions so we can
get to the “krugs” so we can interview and talk to other people
and we can come to a conclusion as soon as we can. Ui..... it
says....uni what interim measures to address the discriminatory
acts. Right now......”

 

28. Mr. Williams:

[interjects] “dre vou a currently a student? You're not are you?”

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Complainant: = “No J was administratively withdrawn from the University...”

Mr. Williams: _[interjects] “For?”

Complainant: = “J’ not sure I haven't been given a merit or basis?”

Mr. Williams: _ [interjects] “Was it for non-payment? When was it done?”

Complainant: = “Jr was done following my email to her...”

Ms. Gray: [interjects] “So...”

Complainant: “Jo Ms. Gray.”

Mr. Williams: “Well find out the reason for vour administrative withdrawal.”

Complainant: = “Whether it was for whatever explainable reason, whether it was
for non-payment I did not make a payment on last semesters tuition
until this semester. So that was okav last semester but now that I
have a complaint in process it’s not. So, either wav I feel like that
was an adverse action toward me in response to me reporting
these discriminatory acts.”

Mr. Williams: _ [interjects] “So, when did you register for classes?”

Complainant: = “J registered on January 30, 2019.”

29. Mr. Williams: “So, vou had an installment plan last year and you didn't make a
pavment on your installment plan?”

Complainant: = “J didn’t. Not until this semester and I was still able to finish mv
classes. I didn’t make a pavment until January 4, 2019.”

{awkward silence]

Mr. Williams: “Okay.”

[prolonged awkward silence]

Mr. Williams: “Okay.”

Complainant: “Actually, Friday January 25% was when I was advised by Dr.
Ghemri and registered by her. On that Saturday, the 26m I web
registered in one course totaling 12 hours.”

Mr. Williams: “So, they wouldn’t allow you to register until you had paid your
balance?”

Complainant: “Yes.”

Mr. Williams:  “Okav....and when vou registered did vou sign an installment
agreement for this semester.”

Complainant: “J did it online and then I got an email saving my installments
changed and after that I got an email from Texas Southern saving I
was issued a refund.”

Mr. Williams: “Okay so let me just do the research on that.”

30. Mr. Williams: “So vou believe that your negative action from this semester was
due to filling a Title LX Case?”

Complainant: “Yes, it is the reason I was withdrawn because it’s not for non-
pavment I didn’t pay yall for last semester until this semester
{starts laughing] ‘is is funny. It’s so funny...” [continues
laughing]

Mr. Williams: _ [interjects] “Do vou remember....”

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Complainant: —_[interjects] “4// you have to do is, it’s very simple there is a law
there are rules put in place like vou just have to follow them that’s
all.”

31.Mr. Williams: = “Do you remember when you signed the agreement last semester
the installment agreement?”

Complainant: = “J didn’t sign one someone administratively enrolled me in one I
got an email saving an administrator enrolled me in an installment
plan because I didn’t.”

Mr. Williams: = “Did vou respond to that email?”

Complainant: “J didn’t because an administrator enrolled me in one and I'll send
you a correspondence later on this evening with that information.”

Mr. Williams: “Please do that...”

{awkward silence}

Mr. Williams: “Okay...”

[prolonged awkward silence]

Complainant: = “Can J ask a question that’s un related to this, I’m not trving to be
rude or disrespectful because I’m coming to you guvs in a
professional manner seriously but is this just what happens in the
educational system like people do things at one university and they
Just go to another? Like vou allow people into vour administration
who has even been...”

Mr. Williams: _[interjects] “Zo answer that question would assume what you’re
saying is correct. So, I have to investigate vour allegation before I
can answer that question.”

Complainant: “Okay, so vou guvs don’t do background checks to see whether
these people have committed or have been alleged of
discrimination?”

Mr. Williams: —_ [interjects} “Every person emploved at TSU has done a
background check.”

[prolonged awkward silence]
32. Mr. Williams: “Do you have anv more questions?”

Ms. Gray: “T don’t.”

Mr. Williams: “Okay.”

Ms. Gray: “Do vou have any questions for us?”

Complainant: = “Um ...no...wait, so you gitvs are not going to address the issue of
me being out of school?”

Mr. Williams: “We’re.... J’m...[stutters] .... [’m...that’s part of our investigation
and I gotta figure out why.”

Ms. Gray: “Alrighty then... vou have my email... you can always call me or
email me...”

Complainant: [laughs] “You girs are hilarious” [continues laughing] “This was

nice...”
{awkward silence] [gathers things]

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Mr. Williams: = “Thank you.”

[tries to open door for me while starring at my breast]
Complainant: ‘I got it.”

Ms. Gray: “Have a good day.”
Complainant: “You as weil.”
Ms. Gray: “Stay warm.”

Complainant: “You as weil.”

 

243. The entirety of this meeting including both Ms. Gray and Mr. Williams hostile
demeanor and tone, their court ready attire and Mr. Williams surprised appearance were
purposeful acts to intimidate and dissuade Jane from continuing in the formal complaint
process and was devastating to Jane as she expected and anticipated support.

244. On Tuesday, March 5, 2019 at 11:57 AM Jane visited Ms. Nadareh
Jahedmotlagh, the Administrative Assistant in the Department of Computer Science and
inquired of the process to reverse administrative withdrawals.

245. Ms. Jahed advised Jane to speak with upper administration in COSET regarding
this matter.

246. In this advice provided Jane visited the Deans office later that day and Ms.
Charlette Whaley scheduled Jane an appointment for Thursday March 7, 2019 at 1:30 PM
to speak with Dean Serpil Saydam, the Dean of the College of Science, Engineering and
Technology regarding Janes enrollment status as a student in COSET’s Department of
Computer Science.

247. Dean Saydam was a recipient of Janes complaint regarding Ms. Tolbert.

248. On Wednesday, March 6, 2019 at 9:14 AM Jane visited Mr. Chio Sheppard, a

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recipient of her two grievances regarding her discriminative incomplete denials, to receive
a follow up.

249. Mr. Sheppard was professional, kind to Jane and showed a genuine interest in
the concerns arising in Janes grievances. He informed Jane that the investigation would take
some time as her wanted to assure my concerns were addressed properly.

250. Jane too shared with Mr. Sheppard that she’d been administratively withdrawn
form enrollment at Texas Southern. He apologized for what Jane was going through and
reassured her that as he is a voice for students, and he’d make sure Janes voice was heard.

251. He too informed Jane that he’d present her concerns to the Provost, Kendall T.
Harris for investigation.

252. On Thursday, March 7, 2019 at 1:33 PM Jane attended her meeting with Dean
Saydam.

253. In this meeting similar as before, Dr. Jackson a Professor and the Assistant
Dean for Student Services and Instructional Support in COSET was an unexpected surprised
visitor in this meeting.

254. Jane explained to the two of them that she’d been administratively withdrawn
from the University despite having had an installment agreement in place.

255. They both seemed to be genuinely unaware and in response Dr. Jackson
expressed that the College of Science, Engineering and Technology posted additional
scholarship awards to students accounts to prevent students from being withdrawn for
nonpayment in an effort to keep low enrollment numbers up in COSET and overall within

the University.

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256. She also informed Jane that was the reason Jane was awarded additional funds
from a COSET Scholarship in the amount of $573 per semester term.

257. Jane also inquired why I was issued a refund in the amount of $1750, the
monetary value of my LSAMP/NSF stipend subsequent the withdrawal.

258. Dr. Jackson responded and informed Jane that was unheard of and extremely
usually considering when the University drops students for non-payment, they’d always
keep a percentage if not all of the credited funds to a student’s account.

259. During the course of this conversation, Dr. Saydam minimally spoke. She was
having extreme difficulty effectively expressing herself in the English dialect.

260. Subsequent Texas Southern administratively withdrawing Jane from
enrollment and Jane reaching out to numerous faculty and staff for assistance, TSU-PD’s
harassment continued and ultimately drastically worsened.

261. On Friday, March 8, 2019 at 4:57 PM Jane arrived on campus to speak with
Mr. William’s regarding her Notice of Discrimination filed against Ms. Tolbert.

262. As Jane began walking toward the direction of the Office of the President
located in Mack H. Hannah Hall a TSU-PD Officer passed her slowly while observing her.

263. Feeling fearful of further harassment, Jane decided not to speak with Mr.
Williams and returned to her car parked along Ennis just before the faculty parking entrance.
Moments later at 5:04 PM the patrol car returned in the opposite direction and sat at the
entrance of Lot F (faculty parking) for several minutes until Jane entered her vehicle.

264. Thereafter Jane sat in her car and cried hysterically. She was not only

heartbroken that she couldn’t continue her education and pursue her dreams but at the severe

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retaliation at the hands of TSU-PD while acting under the color of law.

265. While Jane was in her car crying a TSU — PD patrol car approached Janes
vehicle again at 5:13 PM, this time from the opposite direction.

266 In frustration of the constant harassment Jane decided to follow the patrol car
to the Police Department so she could file an official police report.

267. When Jane followed behind the Officer, the Officer began driving at an almost
nonexistent speed as opposed to their normal excessively speedy driving.

288. When Jane and the Officer arrived at the East Garage at 5:48 PM where the
Police Department is housed, Jane got a complaint form from Officer C. Jones and he
advised Jane to return during his shift between the hours of 3:00PM to 11:00PM to submit
her complaint.

269. This Friday Spring Break had begun; therefore, Jane postponed her quest for
explanation regarding her administrative withdrawal with University personnel until school
resumed Monday, March 18, 2019.

270. The following day Saturday, March 9, 2019 Jane went to the LSAMP Lab to
reflect on the harassment she wanted to report to TSU Police.

271. Jane was in the Lab approximately 35 minutes before leaving at 4:24 PM. As
Jane was leaving the Science building and began walking toward her vehicle, she noticed a
TSU — PD patrol car sitting in the middle of campus with all windows down in view of the
Science Building where Janes vehicle was parked. As Jane walked closer to her car the
Officers began driving away, slowly.

272. Immediately after, on Saturday, March 9, 2019 at 5:54PM Jane filed an official

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police report of harassment from TSU-PD and LSAMP Scholars with Texas Southern’s
Department of Public Safety Officers C. Jones and Christopher Robinson. The Department
however never investigated Janes concerns.

273. The next day Sunday, March 10, 2019 at 1:17 PM Jane went to the LSAMP
Lab this time to bring some printer paper she’d purchased for the printer so she could print
consent forms NSF’s Compliance Manager Mr. Robert Cosgrove emailed her.

274. Jane was the only person on campus as it was Spring Break. When she arrived
and parked, she noticed two TSU patrol cars parked in the middle of the field behind the
Science Building backed in at opposite directions with the Science Building in view.

275. After filling the printer with paper and printing NSF’s consent forms Jane left
the Lab at 1:36 PM. The two patrol cars backed in at opposite directions were still in the
same location.

276. As Jane was walking toward her car one of the patrol cars drove away and the
other stayed and continued observing Jane. When Jane drove off the patrol car that drove
away followed Jane until she was off campus and soon to enter the North freeway.

277. Over Spring Break Jane researched her options of re-enrollment and found a
provision afforded to administratively withdrawn students in COSET’s current Student
Handbook, though it was last published for the 2016-2017 academic year.

278. Per the expired Student Handbook “Students who are administratively
withdrawn from their classes because of nonpayment of tuition and fees may petition for
reinstatement if and only if extraordinary circumstances prevail. Students may obtain the

prescribed form in the Registrar’s Office and must return the petition with evidence of

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suitable payment by-case basis. All approved petitions are subject to a late payment fee and
a reinstatement fee.”

279. Therefore, when school resumed on Monday, March 18, 2019 at 12:49 PM Jane
visited the Office of the Registrar to retrieve the required form for submission to be
reinstated.

280. When she arrived at the Registrar’s Office the woman, who was assisting
patrons had an evident unwillingness to assist Jane in particular. She was rude and her tone
was hostile form the start of conversation.

281. Jane informed her that she’d been administratively withdrawn from the Spring
2019 term and requested the reinstatement form.

282. Initially, the woman was completely unaware of this provision and form Jane
requested and in response reluctantly informed Jane she had no idea what she was referring
to with an attitude.

283. Jane then showed the woman pages of the COSET Student Handbook she’d
printed that stated this information and after reading it the woman had an epiphany and
recollection of this provision, denied Janes request and hostilely inferred that per the
Provost, Dr. Kendall Harris’s advisement the Office of the Registrar could no longer provide
the form nor would Dr. Harris accept any additional reinstatement request.

284. The following day, Tuesday, March 19, 2019 at 10:42 AM Jane called
Thurgood Marshall School of Law, Law Library to inquire whether it was open to the public
or only to law students.

285. The representative that assisted Jane over the phone inquired of Janes name and

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when she planned to visit. Jane informed them of her name and that she wanted to visit that
day. In response, they informed me that was okay.

286. At 11:04 AM as Jane was walking from the West Parking Garage down the
Tiger Walk toward the Law Library, Jane noticed a TSU-PD patrol car that was parked in
between the Robert James Terry Library and the Samuel Milton Nabrit Building facing the
Tiger Walk in the Direction Jane was walking from.

287. The officers sat in the patrol car and observed Jane as she continued to walk
toward the Law Library.

288. When Jane arrived at Thurgood Marshall Law School it was 11:14 AM. As
Jane entered the building, Jane went to the circulation desk to inquire where the Law Library
was located.

289. There Jane was greeted by an angry TSU-PD Officer. An employee of the Law
School was seated next to him. Jane inquired where the Law Library and the restrooms were.
The employee did not verbally answer Jane neither did the Officer, but the Officer pointed
to the east.

290. When Jane finished using the toiletries the angry TSU-PD Officer had left. The
Law School employee who was seated next to the Officer and another unidentified Law
School employee, were at the circulation desk blankly staring at Jane and continued until
Jane entered the Library.

300. While in the Law Library Jane received an e-mail from Dr. Baker, the Interim
Chair for Barbara Jordan — Mickey Leland School of Public Affairs stating Janes grievance

regarding Dr. Gilbert was unsupported with an explanation that her request for reasonable

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accommodations was not made until January 29, 2019 after the conclusion of the Fall 2018
term.

301. The basis for Janes grievances was not of Texas Southern’s failure to provide
reasonable accommodations however it was of a complaint of discrimination due to Janes
Incomplete denials being denied on the basis of her disability amongst other protected
classes.

302. Moreover, Dr. Baker and his Appeals Committee were not identified in TSU’s
Title II/ Section 504 Policy, MAPP 02.05.15 as responsible parties for Title [I/Section 504
compliance.

303. Therefore, Dr. Baker nor his Appeals Committee had jurisdictional authority to
investigate and provide investigatory findings regarding sensitive matter as such.

304. Hence, Dr. Baker and his appeals committee unlawful investigation is in too
violation of Federal law in respects to Title I] and Section 504.

305. Jane felt devastated, violated, alienated, fearful and anxious but adamant about
researching the information needed to properly pursue to Federal suit regarding violations
her Federal civil rights.

306. While a Library employee was assisting Jane in finding legislation on Federal
civil rights the same angry Police Officer walked past the aisle, Jane and the employee were
on at minimum 7 times.

307. After about 30 minutes of reading Jane left the library. As Jane exited the
Library around 11:42 AM and entered the foyer of the Law School, Jane heard someone say,

“There goes the crazy girl” (Jane assumed to be referring to my PTSD diagnosis) and all the

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employees and students in the foyer turned to look at Jane.

308. Jane was utterly humiliated.

309. A woman who was in motion walking in front of Jane too stopped to turn and
look at Jane as well.

310. At 11:46 AM while Jane was walking back to the Technology Building Jane
saw the same TSU — PD Officers she’d seen 45 mins prior parked. Only this time their patrol
car was facing the opposite direction with the Law School in view.

311. Again, the Officers observed Jane movements until she was out of their
Vicinity.

312. Jane arrived at COSET’s Technology Building around 1:00 PM. After entering
the building, she went to the third floor to visit with some friends and a few minutes later
Jane and friends began walking to their cars parked in the West Garage at 1:17 PM.

313. TSU — PD was circling the Technology Building as they were leaving. They
had their mobile scooters parked outside the entrance.

314. When Jane passed the Tech Building moments later at 1:29 PM, they'd gone.

315. Over the course of the Spring term, every time Jane saw a Security Officer
named C. Armitige in COSET’s Technology Building when she’d see me, she’d began
writing in a red pad or she’d follow me around and write in it.

316. On Thursday, March 21, 2019 at 10:58 AM when Jane entered the Tech
Building, Jane saw her grab her pad and begin writing as she’d also do so Jane inquired to
her what was her purpose in doing so.

317. Officer Armitige, in response informed Jane that Chief Young wanted her to

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keep notes on activity going on in the Tech building. Thereafter, Jane concluded the
conversation and went to class.

318. At 1:11 PM when Jane was leaving the Tech Building, Officer Armitige was
still sitting at the circulation desk. She was speaking with another security officer and a
student.

319. Jane exited the building and began walking down the Tiger Walk toward her
car. A security officer was waiting outside on a golf cart. When Jane began walking, he
began driving in the direction Jane was walking while observing Jane intensely.

320. The Officer continued to drive down to the barricade made a U-turn then
continued his observations until he passed Jane again in close proximity.

321. Jane felt unsafe and was terrified and afraid. Jane personally knew a student
whom was too a student in COSET that the University filed a fictions mental health warrant
for alleging the student was mentally ill to prevent the student from objectifying University
malfeasance and administration wrongdoing. This student was restrained at Harris County
Psychiatric Center without release until he agreed to be treated and registered with such
mental illness. He thereafter has to forfeit pursing his postsecondary education.

322. The following day, Friday, March 22, 2019 Dr. Chantelle W. Link, the
Assistant Provost of Academics and Executive Director of TSU Online responded to both
Title II/Section 504 grievances regarding Janes Incomplete denials on behalf of the Office
of the Provost.

323. Dr. Link’s report was of the same investigative findings as Dr. Baker.

324. Inher response she stated Incompletes are given at the discretion of the faculty

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member though the policies enforced in COSET’s current, but outdated Student Handbook
stated otherwise.

325. Additionally, per Title II and Section 504 regulatory promulgations, the Office
of the Provost negates to possess jurisdictional authority to investigate matters related to
disability discrimination concerns or to make conclusive decisions relating to such matters
as these concems are to be investigated by the designated ADA/Section 504 Coordinator.

326. Hence, Dr. Link and the Office of the Provost unlawful investigation into Janes
discrimination complaints too violated of Federal law.

327. On Thursday, March 28, 2019 Jane went to the Office of the President located
in Mack H. Hanna Hall to get an update from Mr. Wendell Williams on her Title IX
grievance.

328. Mr. Williams informed Jane that he was having a hard time contacting the
witnesses in her complaint so he could not provide an exact time of when he would complete
his investigation.

329. In return Jane informed him that the witnesses he was referring to were on
campus daily in the LSAMP Laboratory.

330. He then questioned why Jane was still on campus when she’d been
administratively withdrawn from her courses.

331. Jane then informed him she had an Incomplete from two semesters prior that
she was attempting to satisfy.

332. At 11:23 AM, while walking down the Tiger Walk a TSU-PD patrol car was

parked near the curb. The Officers observed me until I was near to the West Garage.

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333. While Jane was walking down the Tiger Walk to her vehicle 11:23 AM, a TSU-
PD patrol car was parked near the curb. The Officers observed jane until I was near to the
West Garage.

334. On April 11, 2019 Jane received a response from Attorney Cheryl Cash, Texas
Southern’s now former Associate General Counsel or otherwise previously inferred to as
the “Interim Deputy Title IX Coordinator and EEO Officer” in TSU policy MAPP 02.05.15.

335. She provided Jane with the investigative findings from Mr. Wendell William’s
investigation into Janes grievance of discriminative acts perpetuated by Ms. Tolbert’s
discrimination, retaliation and harassment.

336. Mr. Williams investigative findings too returned Janes complaints of Title IX,
Title II and Section 504 discrimination to be unsupported by the 46 exhibits provided.

337. On June 4, 2019 Jane received another response from Attorney Cash this time
providing the investigative findings from investigations Mr. William’s conducted into my
Title II/Section 504 grievances regarding Janes Incomplete denials.

338. Though Janes disability discrimination complaints were submitted before her
Title IX complaint regarding Ms. Tolbert, the University showed it minimal attention and
surpassed the investigation conclusion deadline by 88 days past the 21-day investigation
timeframe provided in the University’s expired ADA/504 Policy MAPP 02.05.15.

339. Similarly, Mr. Williams investigative findings returned that Janes complaints
of discrimination on the basis of her disability to be unsupported by the evidence provided.

340. A few days later, on June 11,2019 Dr. Bobby L. Wilson and Dr. Willie Taylor

mailed Jane a letter informing Jane that Texas Southern’s Louis Stokes Alliance for Minority

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Participation retracted her scholarship and membership in the scholastic alliance. This was
adverse action towards Janes objection of discrimination and disclosure of H-LSAMP’s
misallocation and abuse of Federal funds dispersed from the National Science Foundation.

341. Despite Janes administrative withdrawal she’d often visit Texas Southern to
utilize their Library Learning Center and Law Library. During these visits on numerous
occasions Jane was harassed, followed and retaliated against by TSU-PD Police Officers.

342. Jane too attempted to register for enrollment at Texas Southern for the Fall
2019 term however Janes student account status had a registration hold preventing her
enrollment.

343. Jane was even ticked by the City of Houston, on behalf of TSU while having
legally parked in a location she’d parked for almost two years.

344. In addition to this petition to the U.S. District Court for the Southern District
of Texas, Jane too reported these concerns to numerous local, State and Federal investigatory
agencies with jurisdictional authority over the operations of Texas Southern University
including but not limited to the U.S. Department of Justice, the U.S. Department of
Education, the National Science Foundation, the Texas State Auditor’s Office, Harris
County District Attorney’s Office, the United States Attorney’s Office, the Southern
Association on Colleges and Schools Commission on Colleges, the Section of Legal
Education of the American Bar Association.

345. As of the date of filing of this petition, Thursday, March 12, 2020 none of the

reported agencies have responded or provided conclusive findings regarding Janes claims.

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VI. HISTORY OF TEXAS SOUTHERN

346. As aforementioned, subsequent Janes submission of her second Title IX

 

complaint regarding TSU’s incompliance with Title Ix, TSU Title IX Coordinators Ms.
Kiesha David and Ms. Ja’ Wana Green were fired at the start of the Fall 2018 term.

347. Thereafter, the University operated incompliant with the Title [IX Federal
statute without a designated Title IX Coordinator or any Federal Civil Rights Compliance
Officer for that matter as forth in the U.S. Department of Education and the U.S. Department
of Justice promulgations.

348. Between September 8, 2018 until August 20, 2019 and thereafter Texas
Southern sought to hire a Title IX Coordinator and posted more than 20 ads requesting
applicants. These adds were posted on the various platforms including, Higher Education
Jobs, Work in Texas Veteran Jobs, the Texas Workforce Commission, Inside Higher Ed
Jobs, Inside Higher Ed Careers, ChronicleVitae, Red Hired, USA Jobs, LinkedIn, Glassdoor,
ZipRecruiter, Academic Gates’s and Neurodiversity Advisors Inc.

349. As aforementioned, TSU’s Associate General Counsel or otherwise referred to
as the “Interim Deputy Title IX Coordinator and EEO Officer” was fired approximately in
September of 2019.

350. Ina phone conversation with Jane on Tuesday, March 5, 2019, to schedule a
meeting regarding her Title IX complaint, Ms. Gray denied being the Title 1X Coordinator
and informed Jane that Mr. Wendell Williams, TSU’s now former Special Assistant to the

President served as the Title IX Coordinator.

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351. On January 5, 2020 Texas Southern’s now former President Dr. Austin A. Lane
and his Special Assistant Mr. Wendell Williams were fired from their administrative
positions due to the illicit engagement in criminality, embezzlement and Federal fraud.

352. Ina news interview with the Houston Chronicle on January 15, 2020, on record
Mr. Wendell Williams expressed that amongst his other administrative roles, he served as
Texas Southern’s Title IX Coordinator.

353. In addition to operating incompliant with regard to Title II, Section 504, Title
VI and Title LX due to discrepential and expired policies Texas Southern too negligently

operated with regard to 100 pertinent expired polices from nearly a decade ago.

354. These policy inaccuracies are as follows.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Board of Regents Policies
Last Effective Expiration Time
Policy Name Date Date Expired
April 29, 2011 | April 29, 2017 2 Years
Board Policies — Table of Content 7 Months
April 29, 2011 | April 29, 2017 2 Years
Board Policy Section I - General 7 Months
Board Policy Section 1] — Academic and April 29,2011 } April 29, 2017 2 Years
Student Affairs 7 Months
Board Policy Section III - Administration. | April 29, 2011 | April 29, 2017 2 Years
and Finance 7 Months
April 29, 2011 | April 29, 2017 2 Years
Board Policy Section TV — Audit 7 Months
Board Policy Section V — Development and | April 29, 2011 | April 29, 2017 2 Years
Legislative 7 Months
Board Policy Section VI. — Buildings and. | April 29,2011 | April 29, 2017 2 Years
Ground 7 Months
Board of Regents By Laws April 24, 2009 | April 25, 2015 4 Years
7 Months
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Human Resource Policies

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Last Effective Expiration Time
Policy Name Date Date Expired
02.01.02 Employee On-Boarding Policy March 2016 Sept 1, 2019
3 Months
02.02.01 Pay Guidelines for Staff Employees. March 2016 Sept 1, 2019
3 Months
02.02.02 Classification of Staff Jobs March 2016 Sept 1, 2019
3 Months
02.02.03 Overtime/Compensatory Time March 2016 June 1, 2019
6 Months
02.02.07 Additional Compensation - Exempt. March 2016 July 1, 2019
Staff 5 Months
02.02.08 Consulting and Outside March 2016 May 1, 2019
Employment 7 Months
02.03.01 Benefits Summary Guidelines. March 2016 May 1, 2019
7 Months
02.03.02 Eamily and Medical Leave Policy. August 2016 | August 31, 2019
4 Months
02.03.03 Parental Leave Policy August 2016 August 31, 2019
4 Months
02.03.04 Leave of Absence Policy. August 2016 Sept 1, 2019
3 Months
02.03.05 Educational Opportunities. August 2016 Sept 1, 2019
3 Months
02.03.06 Moving and Relocation Expenses. Nov 16, 2018 Nov 16, 2018 1 Year
02.05.03 Di April 28, 2014 April 28, 2017 2 Years
8 Months
02.05.06 Fraud Policy August 2016 | October 1, 2019
2 Months
02.05.11 Sexual Harassment Policy. No effective No effective OO
date date
02.05.12 Work Schedules” July 2013 July 2016 3 Years
4 Months
02.05.13 EEO/Non-Discrimination Policy June 2015 June 2018 1 Year
6 Months
02.05.15 Americans with Disability Act/504_ Sept 2013 No effective
| Policy date 6 Years
02.06.01 Drug-Free Campus Policy. Aug 5, 2013 Aug 5, 2016 3 Years
3 Months

 

 

 

 

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Human Resource Policies

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Last Effective Expiration Time
Policy Name Date Date Expired
02.06.02 Smoking Policy. April 28, 2014 | April 28,2017 | 2 Years
8 Months
02.06.03 Communicable Diseases Policy. June 24, 2009 | June 24,2012 J 7 Years
6 Months
General Administration Policies
Last Effective | Expiration Time
Policy Name Date Date Expired
01.01.01 Administrative \lemoranda System Aug 5, 2013 Sept 1. 2016 3 Years
3 Months
01.02.01 Business Administration June 24, 2009 | Aug 31, 2012 7 Years
4 Months
01.03.01 Baseline Standards June 24,2009 [ Jan 1, 2012 8 Years
Student Services Policies
Last Effective Expiration Time
Policy Name Date Date Expired
05.01.01 Eveedom of Expression April 16, 2010 | Sept 1, 2013 6 Years
2 Months
05.02.01 Freshman Residency Requirement. Apnil 28, 2014 | May 1, 2017 2 Years
Policy 7 Months
Academic Policies
Last Effective | Expiration Time
Policy Name Date Date Expired
06.02.01 Policy of Distribution of Recovered. June 24, 2009 | Sept 1, 2012 7 Years
Facilities and Administrative Cost 3 Months

 

 

 

 

 

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Fiscal Affairs Policies

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Last Effective | Expiration Time

Policy Name Date Date Expired

03.01.01 Expenditures of All Funds. June 24, 2009 | Aug 31, 2012 7 Years
Administered. 3 Months

03.01.02 Entertainment Expenditures. June 24, 2009 | Aug 31.2012] 7 Years
3 Months

03.01.05 Financial Exigency. Oct 23, 2009 Sept 1, 2012 7 Years
2 Months

03.02.01 Purchasing Guidelines June 24, 2009 | Aug 31,2012] 7 Years
3 Months

03.02.02 Code of Conduct - Procurement. June 24,2009 | Aug 31,2012] 7 Years
Responsibilities. 3 Months

03.02.03 Purchase of Goods, Materials and. June 24, 2009 | Aug 31,2012 7 Years
Supplies through the Purchasing Department 3 Months

03.02.04 Allowances for Communication. June 24, 2009 | Aug 31, 2012 7 Years
Devices. 3 Months

03.02.05 Contracting with Historically. April 16, 2010 | May 1, 2013 6 Years
Underutilized Businesses. 6 Months

03.02.06 Direct Pay Vouchers April 16,2010 J] May 1, 2013 6 Years
6 Months

03.02.07 Advance Payment for Goods April 16,2010 | May 1, 2013 6 Years
6 Months

03.02.08 Prompt Payment and Payment. April 16,2010 J May 1, 2013 6 Years
Scheduling 6 Months

03.02.09 Procurement Card April 16,2010 | May 1, 2013 6 Years
6 Months

03.02.10 July 21, 2010 June 1, 2013 6 Years
Funds. 5 Months

03.02.11 Travel Paid from Local Fund April 16,2010 |) May 1, 2013 6 Years
6 Months

03.02.12 Individual Travel Card April 16, 2010 | May 1, 2013 6 Years
6 Months

03.02.13 Departmental and Multi-User Travel, | April 16,2010 | May 1, 2013 6 Years
Card 6 Months

03.02.14 Centrally Billed Travel Cards. April 16,2010 | May 1, 2013 6 Years
6 Months

03.02.15 Travel Card. April 16, 2010 J May 1, 2013 6 Years
6 Months

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Fiscal Affairs Policies

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Last Effective Expiration Time
Policy Name Date Date Expired
03.03.01 The Planning Budgeting Process" June 24,2009 | Aug 31, 2012 7 Years
3 Months
03.03.03 Repair and Construction Funds. June 24,2009 | Aug 31, 2012 7 Years
3 Months
03.03.04 Higher Education Assistance. June 24,2009 | Aug 31, 2012 7 Years
Eunds_ 3 Months
03.03.05 Tuition, Fees, and Charges. June 24,2009 | Aug 31, 2012 7 Years
3 Months
03.04.01 Direct Deposits of Salaries. July 24, 2015 Sept 1, 2018 1 Year
2 Months
03.04.02 Payroll Check Distribution Nov 23, 2009 May 1, 2012 7 Years
6 Months
03.04.03 Payroll Deductions | Nov 23, 2009 | May 1, 2012 7 Years
6 Months
03.05.01 Accepting and Handling Credit and | August 2013 Sept 2016 3 Years
Debit Card Payments. 2 Months
03.07.03 Expenditures and Expenditure Nov 23, 2009 | May 1, 2012 7 Years
Authority. 7 Months
03.07.04 Official Functions and_ Nov 23, 2009 May 1, 2012 7 Years
Discretionary Expenditures. 7 Months
03.07.06 Emergency and Exceptional June 24,2009 | Aug 31, 2012 7 Years
Manual Checks from Imprest Account 4 Months
03.07.08 Physical Inventory of Goods for. June 24, 2009 | Aug 31, 2012 7 Years
Resale, Manufacture, or Repair 4 Months
03.07.10 Property Management _ June 24, 2009 | Aug 31, 2012 7 Years
4 Months
03.08.05 E June 24, 2009 | Aug 31, 2012 7 Years
4 Months
03.08.07 Student Refunds” Aug 20,2010 J May 1, 2013 6 Years
7 Months
03.08.08 Return of Tithe TV Funds & Post- No effective No effective oO
Withdrawal Disbursement Policy date date
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Operational Services Policies

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Last Effective | Expiration Time

Policy Name Date Date Expired

04.01.01 Facilities Acquisition, June 24, 2009 | March 1, 2012 7 Years
Construction, or Renovation 8 Months
04.01.02 Selection of Architectural and. June 24, 2009 | Aug 31, 2012 7 Years
Engineering Firms 4+ Months
04.01.03 Eacilities, Rehabilitation, Repair, | Oct 23, 2009 Oct 1, 2012 7 Years
Alteration and Construction. 2 Month
04.02.01 Warehouse Operations Policies. Aug 20, 2010 [| Oct 1, 2013 6 Years
and Procedures 2 Month
04.03.01 Fire and Physical Safety. June 24, 2009 | June 1, 2012 7 Years
6 Months

04.04.01 Police Standards. June 24, 2009 | June 1, 2012 7 Years
6 Months
04.04.02 Police Officer Commissioning. June 24, 2009 | June 1, 2012 7 Years
6 Months
04.04.03 Missing Persons. Feb 12, 2010 Sept 1, 2013 6 Years
3 Months
04.04.04 Peace Officer Proficiency April 16, 2010 | Sept 1, 2013 6 Years
. 3 Months
04.04.05 Closed Circuit Television Sept 28.2011 | Sept 1, 2014 5 Years
Monitoring and Recording Policy. 3 Months
04.05.01 Records Management Program July 22,2010 | Sept 1, 2013 6 Years
3 Months
04.06.08 Change Management Policy. Feb 18, 2011 Sept 1, 2014 5 Years
. 3 Months
04.06.10 Email Policy. Feb 18, 2011 Sept 1, 2014 5 Years
3 Months
04.06.11 Incident Management Policy Feb 18, 2011 Sept 1. 2014 5 Years
3 Months
04.06.19 Portable Computing Policy. Feb 18, 2011 Sept 1, 2014 5 Years
3 Months
04.06.27 Vendor Access Policy. Feb 18, 2011 Sept 1, 2014 5 Years
3 Months
04.06.29 Campus Carry Policy. Aug 1, 2016 Sept 1, 2019

3 Months

 

 

 

 

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VII. CAUSES OF ACTION
A. VIOLATION OF TITLE IL, 42 U.S.C. §12101 et seq.

 

355. Plaintiff repeats and re-alleges by reference each and every allegation contained
in the paragraph | through 354 above and incorporates them all here as though fully set
forth.

356. The disability-based discrimination and retaliation articulated in this complaint
Was SO severe, pervasive, and objectively offensive that it deprived Plaintiff of equal access
to Defendants Federally funded educational opportunities, resources, programs and/or
benefits provided by the University.

357. Defendant, through its agents, students, faculty, staff, employees and/or
administrators created, perpetuated and subjected Plaintiff to a hostile educational
environment in violation of Title II, 42 U.S.C. §12101 et seg. because:

I. Plaintiff was member of a protected class;
II. Plaintiff was subjected to disability-based discrimination in the form
of exclusion, harassment and slurs such as “PTSD is for while folk”;
Ill. Plaintiff was subjected to this harassment based on her disability
(PTSD); and
IV. Plaintiff was subjected to a hostile education environment created by
the Defendant’s lack of policies and procedures and/or its custom to
ignore its own policies and policies and Defendant’s failure to
properly investigate and/or address the disability discrimination and
subsequent harassment.

358. Defendant and its officials had actual knowledge of the disability

discrimination and harassment since Thursday, December 20, 2018 but failed to investigate

and/or discipline Plaintiff's discriminators in a timely manner and consistent with Federal

and State legislative promulgations.

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359. The Defendant’s failure to promptly and appropriately respond to the alleged
disability discrimination harassment resulted in Plaintiff, on the basis of her disability, being
excluded from participation, in, being denied the benefits of, and being subjected to
discrimination in the Defendant’s Federally funded educational programs COSET and H-
LSAMP.

360. Defendant neglected to take immediate, effective remedial steps to resolve the
complaints of disability harassment and discrimination and instead acted with deliberate
indifference toward Plaintiff.

361. Defendant persisted in its actions and inaction even after it had actual
knowledge of the harm suffered by Plaintiff.

362. Defendant, through its administrators, policing agents and students engaged in
a pattern and practice of behavior designed to discourage, and which did in fact discourage,
Jane—who had been harassed for her disability—from seeking protection and from seeking
to have disability complaints of harassment and discrimination from being fully
investigated.

363. TSU Title I/ADA Policy MAPP 02.05.15 and/or practice constitutes disparate
treatment of persons with disabilities like Jane and has had a disparate impact on disabled
participants in general.

364. Plaintiff has suffered financial loss, emotional distress, psychological damage,
and her character and standing in the community has suffered from the harassment fostered
as a direct and proximate result of Defendant’s deliberate indifference to her rights under

Title II of the Americans with Disabilities Act of 1990, 42 U.S.C. §12101 et seg.

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B. VIOLATION OF SECTION 504, 29 U.S.C. §794 et seg.

365. Plaintiffrepeats and re-alleges by reference each and every allegation contained
in the paragraph | through 354 above and incorporates them all here as though fully set
forth.

366. The disability-based discrimination and retaliation articulated in this complaint
was SO severe, pervasive, and objectively offensive that it deprived Plaintiff of equal access
to Defendants Federally funded educational opportunities, resources, programs and/or
benefits provided by the University.

367. Defendant, through its agents, students, faculty, staff, employees and/or
administrators created, perpetuated and subjected Plaintiff to a hostile educational
environment in violation of Section 504, 29 U.S.C. §794 because:

I. Plaintiff was member of a protected class;
II. Plaintiff was subjected to disability-based discrimination in the form
of exclusion, harassment and slurs such as “PTSD is for while folk”;
III. Plaintiff was subjected to this harassment based on her disability
(PTSD); and
IV. Plaintiff was subjected to a hostile education environment created by
the Defendant’s lack of policies and procedures and/or its custom to
ignore its own policies and policies and Defendant’s failure to
properly investigate and/or address the disability discrimination and
subsequent harassment.

368. Defendant and its officials had actual knowledge of the disability
discrimination and harassment since Thursday, December 20, 2018 but failed to investigate
and/or discipline Plaintiff's discriminators in a timely manner and consistent with Federal

and State legislative promulgations.

369. The Defendant’s failure to promptly and appropriately respond to the alleged

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disability discrimination harassment resulted in Plaintiff, on the basis of her disability, being
excluded from participation, in, being denied the benefits of, and being subjected to
discrimination in the Defendant’s Federally funded educational programs COSET and H-
LSAMP.

370. Defendant neglected to take immediate, effective remedial steps to resolve the
complaints of disability harassment and discrimination and instead acted with deliberate
indifference toward Plaintiff.

371. Defendant persisted in its actions and inaction even after it had actual
knowledge of the harm suffered by Plaintiff.

372. Defendant, through its administrators, policing agents and students engaged in
a pattern and practice of behavior designed to discourage, and which did in fact discourage,
Jane—who had been harassed for her disability—from seeking protection and from seeking
to have disability complaints of harassment and discrimination from being fully
investigated.

373. TSU Title II/ADA Policy MAPP 02.05.15 and/or practice constitutes disparate
treatment of persons with disabilities like Jane and has had a disparate impact on disabled
participants in general.

374, Plaintiff has suffered financial loss, emotional distress, psychological damage,
and her character and standing in the community has suffered from the harassment fostered
as a direct and proximate result of Defendant’s deliberate indifference to her rights under
Section 504 of the Rehabilitation Act of 1973, as amended (“the Rehabilitation Act’), 29

U.S.C. §794.

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C. VIOLATION OF TITLE IV 20 U.S.C. § 1681, et. seq.

375. Plaintiffrepeats and re-alleges by reference each and every allegation contained
in the paragraph | through 354 above and incorporates them all here as though fully set
forth.

376. The race, color, national origin discrimination and retaliation articulated in this
complaint was so severe, pervasive, and objectively offensive that it deprived Plaintiff of
equal access to Defendants Federally funded educational opportunities, resources, programs
and/or benefits provided by the University.

377. Defendant, through its agents, students, faculty, staff, employees and/or
administrators created, perpetuated and subjected Plaintiff to a hostile educational
environment in violation of Title VI, 42 U.S.C. 2000d et seg. because:

I. Plaintiff was member of a protected class;

II. Plaintiff was subjected to race, color, national origin discrimination
in the form of exclusion, harassment and slurs such as “PTSD is for
while folk”;

Ill. Plaintiff was subjected to this limited educational resources and
assistance based on her race and national origin (American); and

IV. Plaintiff was subjected to a hostile education environment created by
the Defendant’s lack of policies and procedures and/or its custom to
ignore its own policies and policies and Defendant’s failure to
properly investigate and/or address the race discrimination and
subsequent harassment.

378. Defendant and its officials had actual knowledge of the race/national origin
discrimination and harassment since Spring 2019 but failed to investigate and/or discipline
Plaintiff's discriminators in a timely manner and consistent with Federal and State

~

legislative promulgations.

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379. The Defendant’s failure to promptly and appropriately respond to the alleged
race discrimination harassment resulted in Plaintiff, on the basis of her race, being excluded
from participation, in, being denied the benefits of, and being subjected to discrimination in
the Defendant’s Federally funded educational programs COSET and H-LSAMP.

380. Defendant neglected to take immediate, effective remedial steps to resolve the
complaints of race exclusion and discrimination and instead acted with deliberate
indifference toward Plaintiff.

381. Defendant persisted in its actions and inaction even after it had actual
knowledge of the harm suffered by Plaintiff.

382. Defendant, through its administrators, policing agents and students engaged in
a pattern and practice of behavior designed to discourage, and which did in fact discourage,
Jane—who had been discriminated for her race and national origin—from seeking
protection and from seeking to have race complaints of exclusion and discrimination from
being fully investigated.

383. Texas Southern’s Title VI policy or lack thereof and/or practice constitutes
disparate treatment of persons of protected race like Jane and has had a disparate impact on
participants of protected classes of race in general.

384, Plaintiff has suffered financial loss, emotional distress, psychological damage,
and her character and standing in the community has suffered from the harassment fostered

as a direct and proximate result of Defendant’s deliberate indifference to her rights under

Title VI of the Civil Rights Act 1964 (“Title VI’), 42 U.S.C. 2000d et seq.

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D. VIOLATION OF TITLE IX 20 U.S.C. § 1681, et. seq.

385. Plaintiff repeats and re-alleges by reference each and every allegation contained
in the paragraph 1 through 354 above and incorporates them all here as though fully set
forth.

386. The sexual harassment, sexual violence, sexual assault, sex-based
discrimination and retaliation articulated in this complaint was so severe, pervasive, and
objectively offensive that it deprived Plaintiff of equal access to Defendants Federally
funded educational opportunities, resources, programs and/or benefits provided by the
University.

387. Defendant, through its agents, students, faculty, staff, employees and/or
administrators created, perpetuated and subjected Plaintiff to a hostile educational
environment in violation of Title IX, 20 U.S.C. 1681 because:

I. Plaintiff was member of a protected class;
II. Plaintiff was subjected to sex-based discrimination in the form of
exclusion, harassment, slurs and acts such as “sexual assault”:
III. Plaintiff was subjected to this limited educational resources and
assistance based on her sex (female); and
IV. Plaintiff was subjected to a hostile education environment created by
the Defendant’s lack of policies and procedures and/or its custom to
ignore its own policies and policies and Defendant’s failure to
properly investigate and/or address the sex-based discrimination and
subsequent harassment.

388. Defendant and its officials had actual knowledge of the sex-based

discrimination and harassment since March 20, 2018 but failed to investigate and/or

discipline Plaintiffs discriminators in a timely manner and consistent with Federal and State

legislative promulgations.

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389. The Defendant’s failure to promptly and appropriately respond to the alleged
sex-based discrimination harassment resulted in Plaintiff, on the basis of her sex, being
excluded from participation, in, being denied the benefits of, and being subjected to
discrimination in the Defendant’s Federally funded educational programs COSET and H-
LSAMP.

390. Defendant neglected to take immediate, effective remedial steps to resolve the
complaints of sex-based violence, harassment, exclusion and discrimination and instead
acted with deliberate indifference toward Plaintiff.

391. Defendant persisted in its actions and inaction even after it had actual
knowledge of the harm suffered by Plaintiff.

392. Defendant, through its administrators, policing agents and students engaged in
a pattern and practice of behavior designed to discourage, and which did in fact discourage,
Jane—who had been discriminated for her sex—from seeking protection and from seeking
to have sex-based complaints of exclusion and discrimination from being fully investigated.

393. Texas Southern’s Title IX policy or lack thereof and/or practice constitutes
disparate treatment of persons of protected race like Jane and has had a disparate impact on
participants of protected classes of sex in general.

394. Plaintiff has suffered financial loss, emotional distress, psychological damage,
and her character and standing in the community has suffered from the harassment fostered

as a direct and proximate result of Defendant’s deliberate indifference to her rights under

Title [X of the Education Amendments of 1972 (‘Title IX”), 20 U.S.C. §1681 et seg.

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E. TEXAS TORT LAW - Negligence

395. Defendant owed Plaintiff a duty of reasonable care.
396. Defendant breached these duties in a multitude of ways, including:

V. Failing to properly hire, train and retain officers, staff and faculty as
to proper methods to deal with reports of sexual harassment, sexual
abuse, investigate same and accommodate victims in a manner that
would permit them to, without undue hindrance, complete their
higher education;

VI. Failing to properly and timely report incidents of claims sexual
harassment and/or sexual assault;

VII. Failing to provide adequate counseling an assistance to victims of
sexual harassment and/or sexual assault;

VIQI. Failing to adequately monitor and supervise departments to ensure
compliance with protections and standards for sexual harassment
and/or sexual assault prevention, reporting and investigation;

IX. Failing to discover, develop and/or implement basic safeguards
designed to prevent and/or minimize incidents of sexual harassment
and assault;

X. Failing to investigate and/or monitor persons accused of sexual
harassment and/or sexual assault to ensure additional events do not
occur;

XI. Failing to adopt and implement adequate safeguard to prevent known
sexual harassment from occurring on campus;

XII. ‘Failing to provide adequate staff, with proper training, to counsel and
assist victims of sexual harassment and/or sexual assault;

XIII. ‘Failing to adopt education programs to promote awareness of sexual
harassment and/or sexual assault;

XIV. Failing to adopt and periodically review procedures to make sure they
are adequate to address complaints of serious sexual misconduct;

XV. ‘Failing to make the goal of protecting the campus community from
sexual assaults and harassment an integral part of the institution’s
day-to-day mission of providing a safe and secure learning and
working environment.

397. Defendant, through its agents, supervisors, or employees discriminated against
Plaintiff, which led to the loss and impairment in whole or part, educational rights and

privileges, opportunities and/or terms and conditions of Plaintiff's scholastic alliance

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membership.

398. The above-described acts on Defendant’s part were committed with actual
malice and/or in reckless disregard of Plaintiff's Federally protected civil and constitutional
rights.

399, The above-described acts on Defendant’s part caused Plaintiff substantial

injury and damage.

 

VU. JURY TRIAL DEMAND

400. Plaintiff requests that all actions aforementioned in this petition and in any

 

amended complaint thereafter be heard before a jury.

 

IX. DAMAGES

 

401. Defendant’s conduct constitutes violations of statutory and/or common law.
Such unlawful conduct seriously affected Plaintiff in her education and future potential
employment contingent upon her membership in the LSAMP scholastic alliance. Because
of Defendant’s unlawful conduct, Plaintiff has suffered, suffers, and will continue to suffer
financial loss, humiliation, mental anxiety and stress, and other damages. Plaintiff has
suffered direct injury as a proximate result of the unlawful discriminatory practices, policies
and procedures of Defendant. Accordingly, Plaintiff seeks all general, special, incidental
and consequential damages in an amount to be proved at trial.

402. Because of Defendant’s unlawful and tortious conduct, it has been necessary

for Plaintiff to present these causes and claims in Pro Se or Pro Se Litigant to make known

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to the Courts the Defendants heinous unconstitutional operations and practices.

403. Additionally, Plaintiff has incurred out-of-pocket expenses, which include
financial losses, damages, hinderances and other expenses to preserve her ability to earn a
living. Accordingly, Plaintiff seeks all general, special, incidental and consequential
damages as shall be proven at trial.

404. Further, Plaintiff seeks pre-judgment interest at a rate commensurate with the
actual rate of interest in the marketplace or, alternatively, the statutory rate of interest
because of the delay in receiving the damages and to avoid unjust enrichment to Defendant.
Plaintiff also seeks post-judgment interest at the maximum rate allowed by law in the event
that Defendant does not promptly tender damages assessed against them and to avoid

unjustly enriching Defendant.

 

X. PRAYER

WHEREFORE, premises considered, Plaintiff prays that Defendant be cited to appear

 

and answer herein, and that on final trial, Plaintiff have judgment against Defendant for:

A. Permanent injunction enjoining Defendant, its agents, successors, employees,
and those acting in consort with Defendant from engaging in any practice which
discriminates on the basis of sex, race, national origin, disability and protected complaints.

B. All damages to which Plaintiff may be entitled pursuant to this Original
Complaint, or any amendment(s) thereto, including but not limited to back pay or
scholarship loss, reinstatement or front pay in lieu of reinstatement, statutory relief at law,

and equity;

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Cc
D.
E.

F.

Compensatory damages for pain and mental anguish in the past and future;
Reasonable filing fees, with conditional awards in the event of appeal;
Pre-judgment interest at the highest rate permitted by law;

Post-judgment interest from the judgment until paid at the highest rate

permitted by law;

G.

Costs of court and expert witness fees incurred by Plaintiff in the preparation

and prosecution of this action; and

H.

Such other and further relief, at law or in equity, to which Plaintiff may be

entitled, whether by this Original Complaint or by any amendment hereto.

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Respectfully submitted,

/s/ Jane Doe

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Jane Doe
Plaintiff | Pro Se Litigant

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